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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF LOUISIANA
                           MONROE DIVISION

PHILLIP CALLAIS, ET AL                      CIVIL DOCKET NO. 3:24-CV-00122
                                            DCJ-CES-RRS

VERSUS                                      THREE-JUDGE COURT

NANCY LANDRY, in her official
capacity as Louisiana Secretary of
State


               INJUNCTION AND REASONS FOR JUDGMENT

Opinion of the Court by David C. Joseph and Robert R. Summerhays, District Judges.

      The present case involves a challenge to the current congressional redistricting

map enacted in Louisiana on the grounds that one of the congressional districts

created by the Louisiana State Legislature — District 6 — is an impermissible racial

gerrymander in violation of the Equal Protection Clause of the Fourteenth

Amendment. This challenge reflects the tension between Section 2 of the Voting

Rights Act and the Equal Protection Clause. The Voting Rights Act protects minority

voters against dilution resulting from redistricting maps that “crack” or “pack” a large

and “geographically compact” minority population. On the other hand, the Equal

Protection Clause applies strict scrutiny to redistricting that is grounded

predominately on race.

      The challenged Louisiana redistricting scheme originated in response to

litigation brought under Section 2 of the Voting Rights Act in a separate suit filed in

the United States District Court for the Middle District of Louisiana, challenging

Louisiana’s prior redistricting scheme under Section 2 of the Voting Rights Act.



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Robinson, et al v. Ardoin, No. 3:22-cv-211; consolidated with Galmon et al v. Ardoin,

No. 3:22-cv-214 (M.D. La.) (“Robinson Docket”). There, the district court concluded

that the Robinson plaintiffs were likely to succeed on the merits of their claim that

Louisiana’s prior redistricting plan violated Section 2 of the Voting Rights Act. In

response, the Legislature adopted the present redistricting map (created by Senate

Bill 8) (“SB8”), which established a second majority–Black congressional district to

resolve the Robinson litigation.   The plaintiffs here then filed the present case

challenging this new congressional map on the grounds that the second majority–

Black district created by the Legislature violates the Equal Protection Clause.

      This matter was tried before the three-judge panel from April 8-10, 2024.

Having considered the testimony and evidence at trial, the arguments of counsel, and

the applicable law, we conclude that District 6 of SB8 violates the Equal Protection

Clause. Accordingly, the State is enjoined from using SB8 in any future elections.

The Court’s Opinion below constitutes its findings of fact and conclusions of law. The

Court sets a status conference with all parties to discuss the appropriate remedy.

                                    I.
                   PROCEDURAL AND HISTORICAL BACKGROUND

A.    The Hays Litigation

         “Those that fail to learn from history are doomed to repeat it.”
            - Winston Churchill

      Following the 1990 census, the Louisiana State Legislature (the “Legislature”)

enacted Act 42 of 1992, which created a new congressional voting map. Prior to the

Act 42 map, Louisiana had seven congressional districts, one of which included a

majority-Black voting population. Act 42 created a second majority-Black district.


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The existing majority-Black district encircled New Orleans, and the other, new one,

“[l]ike the fictional swordsman Zorro, when making his signature mark, ... slash[ed]

a giant but somewhat shaky ‘Z’ across the state.” Hays v. State of La., 839 F. Supp.

1188, 1199 (W.D. La. 1993), vacated sub nom. Louisiana v. Hays, 512 U.S. 1230, 114

S. Ct. 2731, 129 L.Ed.2d 853 (1994) (“Hays I”).

      Several voters challenged the scheme. After a trial, a three-judge panel of the

Western District of Louisiana concluded that Act 42’s plan violated the Equal

Protection Clause of the Fourteenth Amendment of the United States Constitution,

and accordingly enjoined the use of that plan in any future elections. Id. In 1993,

while an appeal of the district court’s findings in Hays I was pending before the

Supreme Court of the United States, the Legislature repealed Act 42 and passed Act

1, creating a new map. Hays v. State of La., 862 F. Supp. 119, 125 (W.D. La. 1994),

aff'd sub nom. St. Cyr v. Hays, 513 U.S. 1054, 115 S. Ct. 687, 130 L.Ed.2d 595 (1994),

and vacated sub nom. United States v. Hays, 515 U.S. 737, 115 S. Ct. 2431, 132

L.Ed.2d 635 (1995) (“Hays II”).

      The 1993 map, like the 1992 map, had two majority-African American districts.

Id. One encircled New Orleans, while the other was long and narrow and slashed

250 miles in a southeasterly direction from Shreveport down to Baton Rouge. This

district was described as resembling “an inkblot which has spread indiscriminately

across the Louisiana map.” Id.




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PE22 (Map from Hays II).

      The Supreme Court vacated Hays I and remanded the case for further

proceedings in light of the passage of Act 1. See Louisiana v. Hays, 512 U.S. 1230,

114 S. Ct. 2731, 129 L.Ed.2d 853 (1994). The panel of our colleagues making up that

three-judge court determined that the Legislature had once again allowed race to

predominant in the map’s creation and declared Act 1 unconstitutional. Hays II at

121. The case was again appealed to the Supreme Court. Without addressing the

merits of the case, the Supreme Court determined that the plaintiffs lacked standing

to challenge Act 1 as they did not reside in the challenged district. United States v.

Hays, 515 U.S. 737, 115 S. Ct. 2431, 132 L.Ed.2d 635 (1995).

      On remand, the three-judge panel permitted an amended complaint to address

the standing issue. The court then reiterated its findings from Hays II that Act 1


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constituted a racial gerrymander and was not narrowly tailored to further a

compelling state interest. The court therefore found that Act 1 violated the Equal

Protection Clause of the Fourteenth Amendment of the United States Constitution

and ordered the state to implement a redistricting plan drawn by the court. Hays v.

Louisiana, 936 F. Supp. 360 (W.D. La. 1996) (“Hays III”).

B.    2020 Census and Events Leading up to the Robinson Litigation

      Based on the 2020 Census, Louisiana’s population stood at 4,657,757 with a

voting-age population of 3,570,548. JE6; JE15. As a result, the state qualified for six

congressional districts — one less district than it had during the Hays litigation, but

the same number it was allotted after the 2010 Census. JE15. Prior to the start of

the legislative session on redistricting, members of the Legislature traveled across

the state conducting public hearings, called “roadshows,” to give the public the

opportunity to voice their views on the redistricting process. See JE-3; see also Tr.,

Vol. III, 513:14–514:17. The roadshows were “designed to share information about

redistricting and solicit public comment and testimony.” Robinson v. Ardoin, 605

F.Supp.3d 759, 767 (M.D. La. 2022), cert. granted before judgment, 142 S. Ct. 2892,

213 L.Ed.2d 1107 (2022), and cert. dismissed as improvidently granted, 143 S. Ct.

2654, 216 L.Ed.2d 1233 (2023), and vacated and remanded, 86 F.4th 574 (5th Cir.

2023) (“Robinson Injunction Ruling”).

      The Louisiana Senate Governmental Affairs and House Governmental Affairs

conducted ten hearings as part of the roadshow across the state. Tr., Vol. II, 476:18–

25; Tr., Vol. III, 513:18–514:7. These hearings allowed citizens to testify on their

redistricting preferences. Id. Senator Royce Duplessis, who served as Vice Chair of


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the House and Governmental Affairs Committee at the time, attended the roadshows

and testified that “the purpose of the road shows was to give the public the

opportunity to share their thoughts and what they wanted to see in redistricting.”

Tr., Vol. III, 514:8–17.

       Louisiana ultimately enacted a new congressional map, created by House Bill

1 (“HB1”), on March 31, 2022. JE1. As with Louisiana’s prior congressional map,

HB1 had one majority-Black district. Louisiana Governor John Bel Edwards vetoed

HB1, but the Legislature overrode that veto. Robinson Injunction Ruling at 767.




2022 Enacted Map (JE16).




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C.    The Robinson Litigation

      On the same day that HB1 was enacted, a group of plaintiffs led by Press

Robinson1 (the “Robinson Plaintiffs”), and a second group of plaintiffs led by Edward

Galmon, Sr.2 (the “Galmon Plaintiffs”), filed suit against the Louisiana Secretary of

State in the United States District Court for the Middle District of Louisiana.

Robinson Injunction Ruling at 768. The Middle District consolidated the Robinson

and Galmon suits and allowed intervention by the President of the Louisiana State

Senate, the Speaker of the Louisiana House of Representatives, and the Louisiana

Attorney General. Id. at 768-69.

      The Robinson and Galmon Plaintiffs alleged that the congressional map

created by HB1 diluted the votes of Black Louisianians in violation of Section 2 of the

Voting Rights Act of 1965, 52 U.S.C. § 10301. Robinson Injunction Ruling at 768.

This dilution was purportedly accomplished through “ ‘packing’ large numbers of

Black voters into a single majority-Black congressional district…and ‘cracking’ the

remaining Black voters among the other five districts…to ensure they [would be]

unable to participate equally in the electoral process.” Id. at 768. Both sets of

plaintiffs sought a preliminary injunction that would prohibit the Secretary of State

from using the HB1 map in the 2022 congressional elections, give the Legislature a

deadline to enact a map that complied with the Voting Rights Act, and order the use



1      Press Robinson, Edgar Cage, Dorothy Nairne, Edwin Rene Soule, Alice Washington,
Clee Earnest Lowe, Davante Lewis, Martha Davis, Ambrose Sims, National Association for
the Advancement of Colored People (“NAACP”) Louisiana State Conference, and Power
Coalition for Equity and Justice.

2     Edward Galmon, Sr., Ciara Hart, Norris Henderson, and Tramelle Howard.


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of a map proposed by the plaintiffs in the event the Legislature failed to enact a

compliant map. Id. at 769.

      The Middle District held an evidentiary hearing in the Robinson matter,

beginning May 9, 2022. Robinson Injunction Ruling at 769. On June 6, 2022, the

court issued a preliminary injunction finding that the Robinson and Galmon

Plaintiffs were likely to prevail on their Section 2 vote dilution claims. Id. at 851-52.

The Middle District further determined that a new compliant voting map could be

drawn without disrupting the 2022 election. Id. at 856.

      Accordingly, the Middle District entered an order enjoining the Secretary of

State from conducting elections using the HB1 map, ordered the Legislature to enact

a new voting map that included a second majority-Black voting district by June 20,

2022, and stayed the state’s nominating petition deadline until July 8, 2022.

Robinson Injunction Ruling at 858. In the event the Legislature failed to enact a new

map before the deadline, the Middle District set an evidentiary hearing for June 29,

2022, regarding which map should be used in its place. Robinson Docket, [Doc. 206].

      On June 9, 2022, the Middle District denied a motion to stay the injunction

pending appeal. Robinson v. Ardoin, No. CV 22-211-SDD-SDJ, 2022 WL 2092551

(M.D. La. June 9, 2022). While the United States Court of Appeals for the Fifth

Circuit initially stayed the injunction review on the same day, Robinson v. Ardoin,

No. 22-30333, 2022 WL 2092862 (5th Cir. June 9, 2022), it vacated the stay a few

days later. Robinson v. Ardoin, 37 F.4th 208, 232 (5th Cir. 2022). On June 28, 2022,

the Supreme Court of the United States again stayed the Middle District’s injunction.

Ardoin v. Robinson, 142 S. Ct. 2892, 213 L.Ed.2d 1107 (2022). On June 26, 2023,


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after the Supreme Court issued its decision in Alabama v Milligan, 599 U.S. 1, 143

S. Ct. 1487, 216 L.Ed.2d 60 (2023), the court vacated the stay in Robinson as

improvidently granted, allowing review of the matter to continue before the Fifth

Circuit. Ardoin v. Robinson, 143 S. Ct. 2654, 216 L.Ed.2d 1233 (2023).

      In response to the Supreme Court’s action in vacating the stay, the Middle

District reset the remedial evidentiary hearing to begin October 3, 2023. Robinson

Docket, [Doc. 250]. The Louisiana Attorney General sought mandamus from the

Fifth Circuit, which vacated the evidentiary hearing. In re Landry, 83 F.4th 300, 308

(5th Cir. 2023).

      On November 10, 2023, the Fifth Circuit issued its decision on the Secretary

of State’s appeal of the Middle District’s preliminary injunction. Robinson v. Ardoin,

86 F.4th 574 (5th Cir. 2023) (“Robinson Appeal Ruling”). Although noting that the

Robinson Plaintiffs’ arguments were “not without weaknesses,” the Circuit Court

found no clear error with the Middle District’s factual findings, nor with its conclusion

that the HB1 map likely violated Section 2, and held that the preliminary injunction

was valid when it was issued. Robinson Appeal Ruling at 599. However, because the

2022 election had already occurred and because the Legislature had time to enact a

new map without disrupting the 2024 election, the Fifth Circuit concluded that the

district court’s preliminary injunction was no longer necessary. Id. Accordingly, the

Fifth Circuit vacated the injunction to give the Legislature the opportunity, if it

desired, to enact a new redistricting plan before January 15, 2024. Id. at 601. The

Fifth Circuit opinion did not provide any parameters or specific direction as to how

the Legislature was to accomplish this task. Id. If no new re-districting plan was


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enacted before January 15, 2024, the Fifth Circuit directed the district court, “to

conduct a trial and any other necessary proceedings to decide the validity of the HB1

map, and, if necessary, to adopt a different districting plan for the 2024 elections.”

Id.

      The Middle District thereafter set a remedial evidentiary hearing for February

5, 2024. Prior to that date, and as detailed below, the Legislature enacted SB8,

creating a new congressional districting map. Upon notice of SB8’s enactment, the

Middle District cancelled the remedial hearing. Robinson Docket, [Doc. 343].

D.    Legislative Response

      Among the first actions of newly inaugurated Governor Jeff Landry was to call

the 2024 First Extraordinary Session on Monday, January 8, 2024 (the “Special

Session”). JE8. This call directed the Legislature to, among other things, “legislate

relative to the redistricting of the Congressional districts of Louisiana.” Id. On the

first day of the Special Session, Governor Landry addressed the joint chambers. After

detailing his extensive efforts in Robinson to defend the congressional map enacted

in 2022, he stated: “we have exhausted all legal remedies and we have labored with

this issue for far too long.” JE35 at 11. “[N]ow, once and for all,” he continued, “I

think it’s time that we put this to bed. Let us make the necessary adjustments to

heed the instructions of the court. Take the pen out of the hand of a non-elected judge

and place it in your hands. In the hands of the people. It’s really that simple. I would

beg you, help me make this a reality in this special session, for this special purpose,

on this special day.” Id.




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      The product of the Special Session was SB8, which was passed on January 22,

2024. JE10. The Court has reviewed the entire legislative record, including the

January 15 Joint Session, the January 15 House and Governmental Affairs

Committee hearing, the January 16 Senate and Governmental Affairs Committee

hearing, the January 17 Senate floor debate, the January 17 House and

Governmental Affairs Committee hearing, the January 18 House floor hearing, the

January 18 House and Governmental Affairs Committee hearing, the January 19

House of Representatives floor debate, and the January 19 Senate floor debate.

PE23-29. Numerous comments during the Special Session highlight the intent of the

Legislature in passing SB8.

      Senator Glen Womack, the Senate sponsor of SB8, stated at the legislative

session that redistricting must occur because of the litigation occurring in the Middle

District of Louisiana. PE41, at 18. Specifically because of that litigation, Senator

Womack opined that “we had to draw two majority minority districts.” PE41, at 20.

Later in the Special Session, Senator Womack, in addressing the odd shape of SB8’s

District 6 (shown below), admitted that creating two majority-Black districts is “the

reason why District 2 is drawn around the Orleans Parish and why District 6 includes

the Black population of East Baton Rouge Parish and travels up I-49 corridor to

include Black population in Shreveport.”      PE41, at 26.     Senator Womack also

professed: “we all know why we’re here. We were ordered to draw a new black district,

and that’s what I’ve done.” JE31, 121:21-22

      Likewise, in the House of Representatives, Representative Beau Beaullieu was

asked during his presentation of SB8 by Representative Beryl Amedee, “is this bill


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intended to create another Black district?” and Representative Beaullieu responded,

“yes, ma’am, and to comply with the judge’s order.” JE33, 9:3-8. . Representative

Josh Carlson stated, even in his support of SB8, that “the overarching argument that

I’ve heard from nearly everyone over the last four days has been race first” and that

“race seems to be, at least based on the conversations, the driving force” behind the

redistricting plan. Id. at 97:18-19, 21-24.

      But, Representative Carlson acknowledged that racial integration made

drawing a second majority-Black district difficult:

      And so the reason why this is so difficult is because we are moving in
      the right direction. We don't have concentrated populations of – of
      certain minorities or populations of white folks in certain areas. It is
      spread out throughout the state. Compared to Alabama, Alabama has
      17 counties that are minority-majority, and they’re all contiguous.
      Louisiana has seven parishes that are minority-majority and only three
      are contiguous. That’s why this process is so difficult, but here we are
      without any other options to move forward.

Id. at 98:2-12.

      Representative Rodney Lyons, Vice Chairman of the House and Governmental

Affairs Committee, stated that the “mission that we have here is that we have to

create two majority-Black districts.” JE31, 75:24-76:1. Senator Jay Morris also

remarked that “[i]t looks to me we primarily considered race.” JE34, 7:2-3. Senator

Gary Carter went on to express his support for SB8 and read a statement from

Congressman Troy Carter on the Senate floor:

      My dear friends and colleagues, as I said on the steps of the capital, I
      will work with anyone who wants to create two majority-minority
      districts. I am not married to any one map. I have worked tirelessly to
      help create two majority-minority districts that perform. That’s how I
      know that there may be better ways to create – to craft both of these
      districts. There are multiple maps that haven’t been reviewed at all.


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      However, the Womack map creates two majority-minority districts, and
      therefore I am supportive of it. And I urge my former colleagues and
      friends to vote for it while trying to make both districts stronger with
      appropriate amendment. We do not want to jeopardize this rare
      opportunity to give African American voters the equal representation
      they rightly deserve.

JE30, 16:10-25.

      Louisiana Attorney General Murrill also gave the legislators advice during the

Special Session. She told them that the 2022 enacted map, HB1, was a defensible

and lawful map. JE28, 36:24-37:1. She stated, “I am defending that map, and so you

won’t hear me say that I believe that that map violated the redistricting criteria,” Id.

at 42:23, and “I am defending it now.” Id. at 46:3-4. She further declared “I am

defending what I believe to have been a defensible map.” Id. at 53:2. She also

informed legislators that the Robinson litigation had not led to a fair or reliable

result. Id. at 61:20-62:12, 62:24-63:3, 63:6-17.

      SB8 was the only congressional map to advance out of committee and through

the legislative process. The map was passed on Friday, January 19, 2024, and signed

by the Governor as Act 2 on January 22, 2024. JE10. SB8’s second majority-minority

district, District 6, stretches some 250 miles from Shreveport in the northwest corner

of the state to Baton Rouge in southeast Louisiana, slicing through metropolitan

areas to scoop up pockets of predominantly Black populations from Shreveport,

Alexandria, Lafayette, and Baton Rouge. The figure below, which shows the map

enacted by SB8, demonstrates the highly irregular shape of Congressional District 6.




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PE14.

        When converted to a black and white map and placed next to the Hays II map,

the similarities of the two maps become obvious.




Black and White Version of PE14 (left) and PE22 (right).


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E.     The Parties and Their Claims

       The Plaintiffs, Philip Callais, Lloyd Price, Bruce Odell, Elizabeth Ersoff, Albert

Caissie, Daniel Weir, Joyce LaCour, Candy Carroll Peavy, Tanya Whitney, Mike

Johnson, Grover Joseph Rees, and Rolfe McCollister, challenge SB8. [Doc. 156].

Plaintiff Philip Callais is a registered voter of District 6. Id. Plaintiff Albert Caissie,

Jr. is a registered voter of District 5. Id. Plaintiff Elizabeth Ersoff is a registered

voter of District 6. Id. Plaintiff Grover Joseph Rees is a registered voter of District

6. Id. Plaintiff Lloyd Price is a registered voter of District 6. Id. Plaintiff Rolfe

McCollister is a registered voter of District 5. Id. Plaintiff Candy Carroll Peavy is a

registered voter of District 4. Id. Plaintiff Mike Johnson is a registered voter of

District 4. Id. Plaintiff Bruce Odell is a registered voter of District 3. Id. Plaintiff

Joyce LaCour is a registered voter of District 2. Id. Plaintiff Tanya Whitney is a

registered voter of in District 1. Id. Plaintiff Danny Weir, Jr., is a registered voter

of District 1. Id. Each of the Plaintiffs is described as a “non-Black voter.” [Doc. 1].

       The State Defendants are Secretary of State Nancy Landry, in her official

capacity, and the State of Louisiana, represented by Attorney General Elizabeth

Murrill. [Doc. 156]. The State intervened as a defendant on February 26, 2024. [Doc.

79].

       Press Robinson, Edgar Cage, Dorothy Nairne, Edwin Rene Soule, Alice

Washington, Clee Earnest Lowe, Davante Lewis, Martha Davis, Ambrose Sims,

National Association for the Advancement of Colored People Louisiana State

Conference, and Power Coalition for Equity and Justice (collectively “Robinson

Intervenors”) are African American Louisiana voters and civil rights organizations.


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[Doc. 156]. They were Plaintiffs in Robinson, et al v. Landry, No. 3:22-cv-0211-SDD-

SDJ (M.D. La.) and intervened here as defendants to defend SB8. [Doc. 156]. They

intervened permissively in the remedial phase of this litigation on February 26, 2024,

and permissively in the liability phase on March 15, 2024. [Docs. 79, 114]. Davante

Lewis lives in District 6. Tr., Vol. III, 567:23–568:1. The voting districts for the other

individual Robinson Intervenors was not established in the record.

      Plaintiffs assert that: (1) the State has violated the Equal Protection Clause of

the Fourteenth Amendment by enacting a racially gerrymandered district; and (2)

the State has violated the Fourteenth and Fifteenth Amendments by intentionally

discriminating against voters and abridging their votes based on racial classifications

across the State of Louisiana. [Doc. 1, ¶ 5]. The Plaintiffs request that the Court

issue a declaratory judgment that SB8 is unconstitutional under the Fourteenth and

Fifteenth Amendments, issue an injunction barring the State of Louisiana from using

SB8’s map of congressional districts for any election, and institute a congressional

districting map that remedies these violations. Id., p. 31.

F.    The Three-Judge Panel and Trial

      On February 2, 2024, Priscilla Richman, the Chief Judge of the Fifth Circuit

Court of Appeals, issued an Order Constituting Three-Judge Court. [Doc. 5]. Chief

Judge Richman designated Judge Carl E. Stewart, of the Fifth Circuit Court of

Appeals, Judge Robert R. Summerhays, of the Western District of Louisiana, and

Judge David C. Joseph, of the Western District of Louisiana, to serve on the three-

judge district court convened under 28 U.S.C. § 2284. Id. On February 17, 2024,

Plaintiffs filed a Motion for Preliminary Injunction. [Doc. 17]. On February 21, 2024,


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the Court issued a Scheduling Order setting the hearing on the Preliminary

Injunction—consolidated with trial on the merits—to commence on April 8, 2024, in

Shreveport, Louisiana. [Doc. 63]. The hearing commenced on April 8, 2024, and

ended on April 10, 2024. Collectively, the parties introduced thirteen (13) witnesses

and one hundred ten (110) exhibits.

                                       II.
                               EVIDENTIARY RECORD

A.    Fact Witnesses

      1.     Legislators

             a.    Alan Seabaugh

      Alan Thomas Seabaugh is a Louisiana State Senator for District 31, located in

northwest Louisiana.    Senator Seabaugh took office in January 2024.         He had

previously served as a Louisiana State Representative for thirteen years. Tr. Vol. I,

42:16-17.   Senator Seabaugh testified that the only reason the Legislature was

attempting to pass a redistricting plan during the Special Session was the litigation

pending in the Middle District of Louisiana, and specifically “Judge Dick saying that

she – if we didn’t draw the second minority district, she was going to. I think that’s

the only reason we were there.” Id. at 47:22-48:1. When asked if having a second

majority-Black district was the one thing that could not be compromised in the plans

being considered, Senator Seabaugh testified “that’s why we were there.” Id. at 50:2.

Senator Seabaugh ultimately voted no to SB8 and indicated that he believed the 2022

map (HB1) was a good map.        Id. at 52:19-22.   On cross examination, Senator

Seabaugh acknowledged that, in determining how to draw the new districts,



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protecting the districts of Mike Johnson and Stephen Scalise – two of Louisiana’s

representatives in the United States House of Representatives, serving as Speaker

and Majority Leader, respectively – were important considerations. Id. at 60:8-20.

             b.     Thomas Pressly

      Thomas Pressly is a Louisiana State Senator for District 38, which is located

in the northwest corner of Louisiana. Senator Pressly took office in January 2024.

He had previously served as a Louisiana State Representative for four years. Tr.,

Vol. I, 66:1-6. Senator Pressly testified that during the Special Session, “the racial

component in making sure that we had two performing African American districts

was the fundamental tenet that we were looking at. Everything else was secondary

to that discussion.” Id. at 69:16-19. Senator Pressly acknowledged that political

considerations were also factored into the ultimate redistricting plan, stating:

      [t]he conversation was that we would – that we were being told we had
      to draw a second majority-minority seat. And the question then was,
      okay, who – how do we do this in a way to ensure that we’re not getting
      rid of the Speaker of the House, the Majority Leader, and Senator
      Womack spoke on the floor about wanting to protect Julia Letlow as
      well.

Id. at 72:1-7. Senator Pressly testified that he did not believe that his district in the

northwest corner of Louisiana shares a community of interest with either Lafayette

or Baton Rouge, both located in the southern half of Louisiana, based on either

natural disaster concerns or educational needs. Id. at 73:1-23. Senator Pressly spoke

against SB8 during the Special Session and testified that he believed the 2022 map

should be retained. Id. at 77:6-8.




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              c.    Mandie Landry

        Mandie Landry is a Louisiana State Representative for House District 91,

located in New Orleans. She took office in January 2020. Tr., Vol. II, 366:2-3.

Representative Landry testified that the Special Session was convened because the

Republicans were afraid that if they did not draw a map which satisfied the court,

then the court would draw a map that would not be as politically advantageous for

them.    Id. at 368:8-10.   Representative Landry indicated that she understood

Governor Jeff Landry to favor the map created by SB8, in part because he believed

the map would resolve the Robinson litigation in the Middle District, and in part

because the new map would cause Congressman Garrett Graves – a Republican

incumbent with whom Landry was believed to have a contentious relationship – to

lose his seat. Id. at 369:10-15.

              d.    Royce Duplessis

        Royce Duplessis is a Louisiana State Senator representing Senate District 5,

which is located in the New Orleans area. He took office in December 2022 and

previously served as a Louisiana State Representative for over four years. Tr. Vol.

III, 512:21-24. Senator Duplessis testified that his understanding of the reason for

the Special Session was “to put an end to the litigation and adopt a map that was

compliant with the Judge’s order.” Id. at 519:22-23. Though he was not a member of

the Senate’s redistricting committee, Senator Duplessis co-sponsored a separate bill

during the Special Session, namely SB4, which also created two majority-Black

districts. Id. at 521:1-2. SB4 was ultimately voted down in committee in favor of

SB8. Id. at 523:14-23. Senator Duplessis testified that he believed SB8 passed


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because Governor Landry supported SB8 for political reasons. Id. at 525:1-7. Senator

Duplessis voted in favor of SB8 because he believed it complied with the Voting Rights

Act, it met the criteria ordered by the court, and was a fair map which would satisfy

the people of Louisiana. Id. at 527:23 -528:9. Senator Duplessis testified that he was

very proud of the passage of SB8 because:

      It was always very clear that a map with two majority black districts
      was the right thing. It wasn’t the only thing, but it was a major
      component to why we were sent there to redraw a map.

Id. at 530:15-19.

      2.     Community Members

             a.     Cedric Bradford Glover

      Cedric Bradford Glover is a resident of Shreveport, Louisiana, who previously

served a total of five terms in the Louisiana House of Representatives, and two terms

as mayor of Shreveport. Tr., Vol. II, 454:12-20. Mayor Glover testified that he

believes SB8’s District 6 reflects common communities of interest, specifically the I-

49 corridor, the communities along the Red River, higher education campuses,

healthcare systems, and areas of economic development. Id. at 457:17–458:21.

             b.     Pastor Steven Harris, Sr.

      Steven Harris, Sr. resides in Natchitoches, Louisiana, where he serves as a

full-time pastor and a member of the Natchitoches Parish School Board. Tr., Vol. II,

463:5-6.   Pastor Harris’ ministerial duties require him to travel to Alexandria,

Shreveport, Lafayette, Baton Rouge, and places in between. Id. at 463:18-20. Pastor

Harris, who lives and works in District 6, testified that there are communities of

interest among the areas in which he regularly travels, specifically churches and


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educational institutions. Id. at 466:24 – 467:16. Pastor Harris testified that he

believes Baton Rouge has more in common with Alexandria and Shreveport than with

New Orleans, due to the different culture, foods, and music. Id. at 467:20-468:14.

               c.   Ashley Kennedy Shelton

      Ashley Kennedy Shelton resides in Baton Rouge and founded and runs the

Power Coalition for Equity and Justice (the “Coalition”), one of the Robinson

Intervenors. Tr., Vol. II, p. 474:8-11. The Coalition is a 501(c)(3) civic engagement

organization    which   seeks   to   create   “pathways    to   power      for   historically

disenfranchised communities.” Id. at 474:24-475:1. She testified that the Coalition

has been involved with the redistricting process since the 2020 census by educating

the community about the redistricting process, as well as encouraging community

involvement in that process. Id. at 475:21. Ms. Shelton initially supported SB4,

another map offered in the Special Session which also contained two majority-

minority districts, but that map did not move out of committee. Id. at 482:1-2. Ms.

Shelton, along with the Coalition, went on to support SB8 because it:

      centered communities that have never been centered in any of the
      current congressional districts that they are within. And so when you
      look at the district that’s created in SB8, the communities across that
      district are living in poverty, have poor health outcomes, lack of access
      to economic opportunity, similar hospitals, similar size airports. Like
      there is this – there is this opportunity to really center these
      communities in a way that they have not had the attention in the
      current districts that they exist within.

Id. at 483:6-15.




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             d.     Davante Lewis

      Davante Lewis, one of the Robinson Intervenors, is a resident of Baton Rouge,

Louisiana, and currently serves as a commissioner for the Louisiana Public Service

Commission and chief strategy officer of Invest in Louisiana. Tr., Vol. III, 542:23-25.

Commissioner Lewis testified that he has been involved in politics since he was a

teenager and has taken part in the redistricting process on numerous occasions as a

lobbyist. Id. at 548:3-15. During the Special Session, Commissioner Lewis initially

supported SB4, another bill which also included two majority-minority districts but

failed to pass out of committee. Id. at 553:15-22. Commissioner Lewis, who is now a

resident in District 6, testified that he was happy with the passage of SB8 because “it

accomplishes the goals that I wanted to see which was complying with the rule of law

as well as creating a second [B]lack-majority district.”             Id. at 576:16-18.

Commissioner Lewis believes that he shares common interests with voters living in

other areas within District 6, namely economies, civic organizations, religious

organizations, educational systems, and agriculture. Id. at 578:14-25. On cross-

examination, Commissioner Lewis admitted that District 6 intersects four of the five

public service commission districts in the state.

B.    Expert Witnesses

             a. Dr. Stephen Voss

      The Court accepted Plaintiffs’ witness Dr. Stephen Voss as an expert in the

fields of: (i) racial gerrymandering; (ii) compactness; and (iii) simulations.3 Tr., Vol.


3      Plaintiffs retained Dr. Stephen Voss to answer three questions: (1) whether SB8
represents an impermissible racial gerrymander, where race was the predominant factor in


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I, 92:13-25; 93:1-19; 111:6-7; 123:7-9. Dr. Voss was born in Louisiana, lived most of

his life in Jefferson Parish, and earned his Ph.D. in political science at Harvard

University, where his field of focus was quantitative analysis of political methodology.

Id. at 85:12-13; 87:8-21.

       Dr. Voss began his testimony by comparing the districts created by SB8 to past

enacted congressional maps in Louisiana and other proposals that the Legislature

considered during the Special Session. Tr., Vol. I, 97:19-98:2. Dr. Voss described

District 6 as a district:

       that stretches, or I guess the term is “slashes,” across the state of
       Louisiana to target four metropolitan areas, which is the majority of the
       larger cities in the state. It then scoops out from each of those
       predominant – the majority black and predominantly black precincts
       from each of those cities.

Id. at 93:25; 94:1-5. Dr. Voss explained that the borders of District 6, which include

portions of the distant parishes of Lafayette and East Baton Rouge, track along Black

communities, including precincts with larger Black population percentages while

avoiding communities with large numbers of white voters. Id. at 94:18-95:10. Dr.

Voss reiterated that the boundaries of District 6 were drawn specifically to contain

heavily Black-populated portions of cities while leaving more white-populated areas

in the neighboring districts. Id. at 96:7-16; PE3; PE4. Dr. Voss also testified that,

compared to other maps proposed during the Special Session and other past

congressional maps, SB8 split a total of 18 of Louisiana’s 64 parishes, Tr., Vol. I,



the drawing of district lines; (2) whether SB8 sacrificed traditional redistricting criteria in
order to create two majority-minority districts; and (3) whether the Black population in
Louisiana is sufficiently large and compact to support two majority-minority districts that
conform to traditional redistricting criteria. Tr., Vol. I, 91:3-25 (Voss).


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97:19-99:11, and, at 62.9 percent of Louisiana’s population, had the highest

percentage of individuals affected by parish splits. Id. 98:3-99:11; PE6.

       Dr. Voss also studied the compactness of SB8 under three generally accepted

metrics: (i) Reock Score; (ii) Polsby-Popper score; and (iii) Know It When You See It

(“KIWYSI”).4 Tr., Vol. I, 100:22-103:5. Dr. Voss found that across all three measures

of compactness, SB8 performed worse than either HB1 (the map that was enacted in

2022) or the map that HB1 replaced from the previous decade. Id. at 104:25-105:4;

PE7. Thus, SB8 did not produce compact maps when judged in comparison to other

real-life congressional maps of Louisiana. Tr., Vol. I, 107:16-21. Dr. Voss also found

that SB8’s majority-Black districts were especially non-compact compared to other

plans that also included two majority-minority districts. Id. at 106:17-24. According

to Dr. Voss, SB8’s District 6 scored worse on the Polsby-Popper test than the second

majority-Black districts in other proposed plans that created a second majority-Black

district. Id. at 106:17-24.

       Dr. Voss further testified that SB8’s and District 6’s uniquely poor compactness

was not necessary if the goal was to accomplish purely political goals. “If you’re not

trying to draw a second black majority district, it is very easy to protect

Representative Julia Letlow.         Even if you are, it’s not super difficult to protect


4       According to Dr. Voss, a district’s “Reock score” quantifies its compactness by
measuring how close the district is to being a circle. Tr., Vol. 1, 100:23-6. A district’s “Polsby-
Popper” score is intended to take into account a district’s jagged edges and “tendrils.” Id.,
101:25-102:19. Finally, the “Know It When You See It” method uses a metric derived by
panels of judges and lawyers and a representative sample of people looking at the shape of a
district and giving their quantification of compactness. Id., 102:20-104:2. The KIWYSI
method originated from individuals’ subjective judgments, but the metric itself is
standardized and uses specific software to compute a numerical figure representing
compactness. Id., 103:15-104:2.


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Representative Julia Letlow,” he testified.      Tr., Vol. I, 108:17-21.   Additionally,

according to Dr. Voss, the Legislature did not need to enact a map with two majority-

minority districts in order to protect Representative Letlow’s congressional seat:

“[Representative Letlow] is in what historically is called the Macon Ridge…[a]nd

given where she is located, it is not hard to get her into a heavily Republican, heavily

white district.”   Id. at 111:15-23.     Dr. Voss testified similarly with respect to

Representative Garrett Graves, concluding that the Legislature did not need to enact

a second majority-minority district in order to put Representative Garrett Graves in

a majority-Black district. Id. at 112:2-16. Thus, Dr. Voss concluded that neither the

goal of protecting Representative Letlow’s district, nor the goal of targeting

Representative Graves, would have been difficult to accomplish while still retaining

compact districts. Id. at 110:15-22.

      Dr. Voss testified extensively about simulations, explaining that he used the

Redist simulation package (“Redist”) to analyze the statistical probability of the

Legislature creating SB8 without race predominating its action.5 Id. at 113:14-115:6.

Using Redist, Dr. Voss compared “lab-grown” simulations of possible maps to SB8 in

order to analyze the decisions the Legislature made during the redistricting process,

Id. at 114:2-23, so that he could judge whether the parameters or constraints under

which he created the simulations could explain the deviations evident in SB8. Id. at

118:15-23. Dr. Voss testified that he performed tens of thousands of both “race-




5      According to Dr. Voss, Redist uses Sequential Monte Carlo (“SMC”) simulation in
order to generate a representative sample of districts that could have been drawn under
certain parameters. Id., 113:8-114:10.


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conscious” and “race-neutral” simulations, and that none of these simulations

randomly produced a map with two Democratic districts. Id. at 138:9-14. On that

basis, Dr. Voss opined that the non-compact features of SB8 are predominantly

explained by racial considerations. Id. at 139:17-23.

      Concluding that District 6 performs worse on the Polsby-Popper score than the

second majority-Black district in the other plans; worse on the Reock score than the

other plans that created a second majority-Black district, with a very low score; and

worse on the KIWYSI method than the other plans and the majority-Black districts

they proposed, Id. at 106:18-24, Dr. Voss ultimately opined that SB8 represents an

impermissible racial gerrymander. Id. at 92:23-24.

             b. Dr. Cory McCartan

      Dr. Cory McCartan was proffered by the Robinson Intervenors in rebuttal to

Dr. Voss and was qualified by the Court as an expert in the fields of redistricting and

the use of simulations. Tr., Vol. I, 187:5-14. Though Dr. McCartan criticized Dr. Voss

for a number of his methodologies, the Court notes that Dr. McCartan conducted no

tests or simulations of his own, Id. at 215:18-21, and his testimony was often undercut

by his own previous analysis.

      First, Dr. McCartan criticized Dr. Voss’s simulations on grounds that Dr. Voss

did not incorporate the relevant redistricting criteria used by actual mapmakers. Id.

at 198:10-24. Dr. McCartan also questioned the efficacy of simulations in detecting

racial gerrymandering. Id. at 196:13-25; 197:1-12. Yet Dr. McCartan had previously

led the Algorithm Assisted Redistricting Methodology (“ALARM”) Project team,

which traversed the country simulating multiple districts in multiple states,


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including Louisiana, and authored a paper which declared that simulations are well-

suited to assess what types of racial outcomes could have happened under alternative

plans in a given state. Id. at 227:9-21. Dr. McCartan also testified that he himself

used the ALARM project to detect partisan, or political gerrymandering – ultimately

finding that Louisiana had only one plausible district favoring the Democratic party.

Id. at 216:23-25.   And on cross-examination, Dr. Voss confirmed that Professor

Kosuke Imai, who helped develop the Redist software, applied these same simulation

techniques in the racial gerrymandering context. Id. at 150:18-151:1. On this point,

therefore, the Court finds Dr. McCartan’s testimony unpersuasive.

      Dr. McCartan also criticized Dr. Voss for not imposing a constraint in his

simulations for natural or geographic boundaries. Id. at 200:1-6. Yet Dr. McCartan

acknowledged that in his work with ALARM to generate Louisiana congressional

map simulations, his team did not impose any kind of requirement for natural or

geographic boundaries. Id. at 230:24-231:1. Dr. McCartan also criticized Dr. Voss

for not adding incumbent protection as a constraint in the simulations, but when

pressed, could not testify that this extra constraint would trigger the creation of a

second majority-minority district. Id. at 238:11-16 (McCartan).

      Similarly, Dr. McCartan could not give a convincing reason why it was

appropriate for his own team to use a compactness constraint of 1.0, while testifying

that this same criterion made Dr. Voss’s simulations unrepresentative. Id. at 231:5-

16. Dr. Voss, on the other hand, explained why adjustments to the compactness

criterion made the simulation results less reliable. Id. at 162:22-24, 163:21-165:19.

Finally, Dr. McCartan confirmed that both his simulations on Louisiana


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congressional maps and Dr. Voss’s simulations generated plans that were more

compact than the enacted version of SB8, which was far worse than the Polsby-

Popper compactness scores of both Dr. McCartan’s and Dr. Voss’s simulations. Id. at

233:20-24 (McCartan).    Dr. McCartan also acknowledged that his own partisan

gerrymandering simulations yielded no more than 10 out of 5,000 maps with a second

Democratic seat. Id. at 235:4-236:12.

      In evaluating the testimony of Dr. Voss and Dr. McCartan, the Court finds Dr.

Voss’s testimony to be credible circumstantial evidence that race was the

predominant factor in crafting SB8. Though Dr. McCartan provided some insight

into the uses of simulations in detecting the presence of racial gerrymandering, his

testimony indicated that his own team had performed simulations under conditions

not unlike Dr. Voss’s, and with conclusions that supported Dr. Voss. Dr. McCartan’s

other criticisms of Dr. Voss were either not well-founded or rebutted.

             c. Michael Hefner

      Plaintiffs proffered Michael Hefner as an expert demographer, and he was

qualified by the Court as such. Tr., Vol. II, 270:23-15; 271:1-5. Mr. Hefner is from

Louisiana and has lived his whole life in various parts of the state. Id. at 258:3-6;

[Doc. 182-8]. Having worked in the field of demography for 34 years, most of Mr.

Hefner’s work consists of creating redistricting plans for governmental entities,

including municipalities and school boards, throughout the State of Louisiana after

decennial censuses; conducting precinct management work for Louisiana parish

governments; working on school desegregation cases in Louisiana; and conducting

site-location analyses in Louisiana. Tr., Vol. II, 257:9-22; Doc. 182-8. Mr. Hefner


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testified that he came to the following conclusions during his analysis for this case:

(1) given the geographic distribution and concentration of the Black population in

Louisiana, it is impossible to create a second majority-minority district and still

adhere to traditional redistricting criteria, Tr., Vol. II, 271:11-22, 282:21-283:6; and

(2) race predominated in the drafting of SB8. Id. at 271:23; 272:1-14.

      Mr. Hefner explained that the Black population in Louisiana is highly

dispersed across the State and is concentrated in specific urban areas, including New

Orleans, Baton Rouge, Alexandria, Lafayette, and Shreveport.6 Tr., Vol. II, 281:7-15;

283:19-285:1; 339:20-340:4 (Hefner); see also Mr. Hefner’s Heat Map, [Docs. 182-9,

182-10]. Using a heat map he created based on data representing the Black voting

age population (“BVAP”) across the State from the 2020 census, Mr. Hefner testified

that outside the New Orleans and East Baton Rouge areas, the Black population is

highly dispersed across the state. Tr., Vol. II, 281:4-15. Mr. Hefner opined that, given

this dispersion, it is impossible to draw a second majority-minority congressional

district without violating traditional redistricting criteria. Id. at 282:22-283:6.

      Focusing on SB8, Mr. Hefner testified that SB8 is drawn to trace the areas of

the state with a high BVAP to create a second majority-minority district, Tr., Vol. II,

283:15-285:1, echoing the testimony of Dr. Voss. Specifically, Mr. Hefner stated that

District 6’s borders include the concentrated Black populations in East Baton Rouge,

Alexandria, Opelousas, Natchitoches, Mansfield, Stonewall, and up to Shreveport, Id.




6     According to Mr. Hefner, the highest concentration of African American voters is in
New Orleans; the second highest concentration is in East Baton Rouge; and the third highest
concentration is in Shreveport. Tr., Vol. II, 281:4-15.


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at 283:15-285:1, but carved concentrated precincts out of the remainder of the

parishes to avoid picking up too much population of non-Black voters. Id. at 283:15-

285:1. Taking Lafayette Parish as an example, Mr. Hefner testified that District 6

includes the northeast part of the parish, where voting precincts contain a majority

of Black voters, while excluding the remainder of the parish, in which the precincts

are not inhabited by predominantly Black voters. Id. at 283:22-284:4. Likewise, in

Rapides Parish, District 6 splits Rapides Parish to include only the precincts in which

there is a high concentration of Black voters, for the purpose of including the overall

BVAP in the district. Id. at 284:4-8.

      Mr. Hefner also testified that SB8’s compactness score is extremely small. In

fact, it is so low on the Polsby-Popper and Reock metrics that it is almost not compact

at all.7 Id. at 302:21-303:2; PE21. Explaining that District 6 is extremely long and

extremely strung out, Tr., Vol. II, 303:18-20, Mr. Hefner testified that SB8 scored

lower than HB1 on both the Polsby-Popper and Reock tests. Id. at 302:16-303:25;

PE21. Mr. Hefner testified that District 6 is not reasonably compact, Tr., Vol. II,

304:11-14; its shape is awkward and bizarre, Id. at 304:23-305:6; it is extremely

narrow at points, Id. at 305:18-306:2; its contiguity is tenuous, Id. at 293:23-24; and

it splits many parishes and municipalities, including four of the largest parishes in

the State (Caddo, Rapides, Lafayette, and East Baton Rouge), each of which are

communities of interest.    Id. at 295:7-8.   Finally, Mr. Hefner testified that the

Plaintiffs’ redistricting plan, introduced as Illustrative Plan 1, was a reasonable plan



7     The Polsby-Popper scale goes from 0 (no compactness) to 1 (total compactness). Mr.
Hefner testified that District 6 had a Polsby-Popper score of 0.05. Id., 303:13-20.


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that can be drawn in a race-neutral manner; adheres to the use of traditional

redistricting principles; preserves more communities of interest; provides more

compact election districts; preserves the core election districts; and balances the

population within each district. Id. at 272:17-25; 273:1-2.

             a. Anthony Fairfax

      Mr. Anthony Fairfax testified on behalf of the Robinson Intervenors to rebut

the testimony of Mr. Hefner, and was qualified by the Court as an expert in

redistricting and demography. Tr., Vol. II, 379:6-15. Contradicting Mr. Hefner, Mr.

Fairfax testified that traditional redistricting principles could be used to create maps

with a second majority-Black district. Id. at 381-383:24. But on rebuttal, Mr. Fairfax

admitted that the map he used did not account for where people lived within parishes,

and his map therefore failed to take account of where Black voters are located in each

parish. Id. at 407:4-125; 408:1-12. Therefore, on the issue of parish splitting, Mr.

Fairfax’s testimony was unpersuasive. Rather, as Mr. Hefner testified, Fairfax’s

analysis fails to show the Court whether District 6 specifically targeted those pockets

of high populations of Black voters. Id. at 292:13-293:3. Tellingly, in discussing

preservation of communities of interests, parishes, and municipalities, Mr. Fairfax

agreed with Mr. Hefner that SB8 split more parishes and municipalities than HB1,

Id. at 385:14-18; 389:5-9, and that SB8 split more parishes and municipalities than

the previously enacted plan. Id. at 385:11-15; 389:2-9.




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                                         III.
                                   APPLICABLE LAW

      To obtain permanent injunctive relief, the plaintiffs must establish by a

preponderance of the evidence: “(1) actual success on the merits; (2) that it is likely

to suffer irreparable harm in the absence of injunctive relief; (3) that the balance of

equities tip in that party’s favor; and (4) that an injunction is in the public interest.”8

Crown Castle Fiber, L.L.C. v. City of Pasadena, Texas, 76 F.4th 425, 441 (5th Cir.

2023), cert. denied, 144 S. Ct. 820 (2024); see also Winter v. Nat. Res. Def. Council,

Inc., 555 U.S. 7, 20, 32, 129 S. Ct. 365, 172 L.Ed.2d 249 (2008).

      The Equal Protection Clause of the Fourteenth Amendment provides that:

“[N]o state shall … deny to any person within its jurisdiction the equal protection of

the laws.” U.S. CONST. AMEND. XIV, § 1. The intent of the provision is “to prevent

the States from purposefully discriminating between individuals on the basis of race.”

Shaw v. Reno, 509 U.S. 630, 642, 113 S. Ct. 2816, 2824, 125 L.Ed.2d 511 (1993)

(“Shaw I”). As applied to redistricting, the Equal Protection Clause bars “a State,

without sufficient justification, from ‘separat[ing] its citizens into different voting

districts on the basis of race.” Bethune–Hill v. Virginia State Bd. of Elections, 580

U.S. 178, 187, 137 S. Ct. 788, 797, 197 L.Ed.2d 85 (2017) (citing Miller v. Johnson,

515 U.S. 900, 911, 115 S. Ct. 2475, 132 L.Ed.2d 762 (1995)).            Thus, the Equal

Protection Clause prohibits the creation and implementation of districting plans that

include racial gerrymanders, with few exceptions. “A racial gerrymander [is] the




8      The Court consolidated the preliminary injunction hearing with the full trial on the
merits. See [Doc. 63].


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deliberate and arbitrary distortion of district boundaries … for [racial] purposes.”

Shaw I, 509 U.S. at 640 (citing Davis v. Bandemer, 478 U.S. 109, 164, 106 S. Ct. 2797,

2826, 92 L.Ed.2d 85 (1986) (Powell, J. concurring in part and dissenting in part),

abrogated on other grounds by Rucho v. Common Cause, 588 U.S. 684, 139 S. Ct.

2484, 204 L.Ed.2d 931 (2019)). Courts analyze racial gerrymandering challenges

under a two-part burden-shifting framework.

      First, a plaintiff bears the burden to prove that “race was the predominant

factor motivating the legislature’s decision to place a significant number of voters

within or without a particular district.” Miller, 515 U.S. at 916. This requires a

plaintiff to show that “the legislature ‘subordinated’ other factors – compactness,

respect for political subdivisions, partisan advantage, what have you – to ‘racial

considerations.’ ” Cooper v. Harris, 581 U.S. 285, 291, 137 S. Ct. 1455, 1464, 197

L.Ed.2d 837 (2017) (citing Miller, 515 U.S. at 916). The plaintiff may make the

requisite showing “either through circumstantial evidence of a district’s shape and

demographics or more direct evidence going to legislative purpose, that race was the

predominant factor motivating the legislature’s decision….” Alabama Legislative

Black Caucus v. Alabama, 575 U.S. 254, 267, 135 S. Ct. 1257, 1267, 191 L.Ed.2d 314

(2015) (citing Miller, 515 U.S. at 916).

      If Plaintiff meets the burden of showing race played the predominant factor in

the design of a district, the district must then survive strict scrutiny. Cooper, 581

U.S. at 292. At this point, the burden of proof “shifts to the State to prove that its

race-based sorting of voters serves a ‘compelling interest’ and is ‘narrowly tailored’ to

that end.” Cooper, 581 U.S. at 285 (citing Bethune-Hill, 580 U.S. at 193). “Racial


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gerrymandering, even for remedial purposes” is still subject to strict scrutiny. Shaw

I, 509 U.S. at 657. Where the state seeks to draw a congressional district by race for

remedial purposes under Section 2, the state must have a “strong basis in evidence”

for “finding that the threshold conditions for section 2 liability are present” under

Gingles. And, to survive strict scrutiny, “the district drawn in order to satisfy § 2

must not subordinate traditional districting principles to race substantially more

than is ‘reasonably necessary’ to avoid § 2 liability.” Bush v. Vera, 517 U.S. 952, 979,

116 S. Ct. 1941, 1961, 135 L.Ed.2d 248 (1996).

                                      IV.
                   FINDINGS OF FACT AND CONCLUSIONS OF LAW

A.    Racial Predominance

      The Court first addresses whether Plaintiffs have met their burden of showing

that race predominated in drawing District 6. Racial awareness in redistricting does

not necessarily mean that race predominated in the Legislature’s decision to create a

second majority-minority district. Shaw I, 509 U.S. at 646. When redistricting, a

legislature may be aware of race when it draws district lines, just as it is aware of

other demographic information such as age, economic status, religion, and political

affiliation. Shaw I, 509 U.S. at 646. Race consciousness, on its own, does not make

a district an unconstitutional racial gerrymander or an act of impermissible race

discrimination. Id. But while districts may be drawn for remedial purposes, Section

2 of the Voting Rights “never require[s] adoption of districts that violate traditional

redistricting principles.” Allen v. Milligan, 599 U.S. 1, 29 – 30, 143 S. Ct. 1487, 1492,

216 L.Ed.2d 60 (2023) (internal citations omitted). Indeed, to survive strict scrutiny,



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“the district drawn in order to satisfy § 2 must not subordinate traditional districting

principles to race substantially more than is ‘reasonably necessary’ to avoid § 2

liability.” Vera, 517 U.S. at 979. As discussed above, racial predominance may be

shown through either circumstantial evidence, direct evidence, or both. Ala. Legis.

Black Caucus, 135 S. Ct. at 1267.

      Here, the Robinson Intervenors and the State argue that political

considerations predominated in drawing the boundaries of District 6. They argue

that the State had to create a second majority-minority district based on the district

court’s ruling in the Robinson litigation and that District 6 was drawn with the

primary purpose of protecting key Republican incumbents, such as Speaker Mike

Johnson, Majority Leader Steve Scalise, and Representative Julia Letlow. It is clear

from the record and undisputed that political considerations – the protection of

incumbents – played a role in how District 6 was drawn. Plaintiffs, however, contend

that considerations of race played a qualitatively greater role in how the State drew

the contours of District 6 than these political considerations.

      1.     Circumstantial Evidence

      In the redistricting realm, appearances matter. A district’s shape can provide

circumstantial evidence of a racial gerrymander. Shaw I, 509 U.S. at 647. In the

past, the Supreme Court has relied on irregular district shapes and demographic data

to find racial gerrymandering.9 See Shaw v. Hunt, 517 U.S. 899, 910-16 (1996)

(“Shaw II”); Miller, 515 U.S. 900; Vera, 517 U.S. 952.



9     Significantly, “[s]hape is relevant not because bizarreness is a necessary element of
the constitutional wrong or a threshold requirement of proof, but because it may be


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       Here, as described by Dr. Voss, District 6 “ ‘slashes’ across the state of

Louisiana” and includes portions of four disparate metropolitan areas. But – critical

to our analysis – District 6 only encompasses the parts of those cities that are

inhabited by majority-Black voting populations, while excluding neighboring non-

minority voting populations. Tr., Vol. I, 93:25; 94:1-5; 94:18-95:10; 96:7-16; PE3; PE4.

His description encapsulates what the following maps show on their face:




Baton Rouge Close Up of 2024 Enacted Map (JE17).



persuasive circumstantial evidence that race for its own sake, and not other districting
principles, was the legislature's dominant and controlling rationale in drawing its district
lines.” Miller, 515 U.S. at 912-913; See Shaw v. Hunt, 861 F. Supp. 408, 431 (E.D.N.C. 1994);
Hays I; but see DeWitt v. Wilson, 856 F. Supp. 1409, 1413 (E.D. Cal.1994). Thus, a district’s
bizarre shape is not the only type of circumstantial evidence on which parties may rely. Id.


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Lafayette Close Up of 2024 Enacted Map (JE17).




Alexandria Close Up of 2024 Enacted Map (JE17).


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Shreveport Close Up of 2024 Enacted Map (JE17).

      Like Shaw II and Vera, this case presents evidence of “mixed motives” in

creating District 6 – motives based on race and political considerations. Unlike a

single motive case, any circumstantial evidence tending to show neglect of traditional

districting principles, such as compactness and respect for parish lines, caused

District 6’s bizarre shape could seemingly arise from a “political motivation as well

as a racial one.” Cooper v. Harris, 581 U.S. at 308 (citing Hunt v. Cromartie, 526 U.S.

541, 547 n.3, 119 S. Ct. 1545, 1549, 143 L.Ed.2d 731 (1999)). In mixed motive cases

such as this one, the Supreme Court has noted that “political and racial reasons are

capable of yielding similar oddities in a district’s boundaries.” Id. Accordingly, this

Court faces “a formidable task: It must make ‘a sensitive inquiry’ into all

‘circumstantial and direct evidence of intent’ to assess whether the plaintiffs have



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managed to disentangle race from politics and prove that the former drove a district’s

lines.” Id.

      Turning to the record, Mr. Hefner’s “heat map” is particularly helpful as

circumstantial evidence of the motives driving the decisions as to where to draw the

boundaries of District 6. The “heat map” shows that outside of the New Orleans and

East Baton Rouge areas, the state’s Black population is highly dispersed across the

state. Tr., Vol. II 281:4-15. Mr. Hefner opined that District 6 was designed as such

to collect these highly dispersed BVAP areas in order to create a second majority-

minority district. Id., 283:15-285:1.




PE 16.



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      When Mr. Hefner’s heat map is superimposed on SB8, the “story of racial

gerrymandering” becomes evident.         See Miller, 515 U.S. at 917 (“… when [the

district’s] shape is considered in conjunction with its racial and population densities,

the story of racial gerrymandering … becomes much clearer”). That exhibit shows

that District 6 sweeps across the state to include the heavily concentrated Black

population   neighborhoods     in   East    Baton    Rouge,   Alexandria,   Opelousas,

Natchitoches, and Mansfield. Most telling, District 6 juts up at its northern end to

carve out the Black neighborhoods of Shreveport and separates those neighborhoods

from the majority white neighborhoods of Shreveport and Bossier City (“Shreveport-

Bossier”). Tr., Vol. II, 283:15-285:1.




PE 18.




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      District 6 also dips down from its northwest trajectory and splits the majority

of Black neighborhoods of Lafayette from the rest of the city and parish. Specifically,

District 6 includes Lafayette’s northeast neighborhoods, which contain a

predominantly Black population, while leaving the rest of the city and parish in

neighboring District 3. Id. at 283:22-284:4. In sum, the “heat maps” and demographic

data in evidence tell the true story – that race was the predominate factor driving

decisions made by the State in drawing the contours of District 6. This evidence

shows that the unusual shape of the district reflects an effort to incorporate as much

of the dispersed Black population as was necessary to create a majority-Black district.

      2.     Direct Evidence

      The Court next looks to the direct evidence of the Legislature’s motive in

creating District 6 – in other words, what was actually said by the individuals who

had a hand in promulgating, drafting, and voting on SB8. The direct evidence

buttresses the Court’s conclusion that race was the predominant factor the legislators

relied upon in drawing District 6.

      The record includes audio and video recordings, as well as transcripts, of

statements made by key political figures such as the Governor of Louisiana, the

Louisiana Attorney General, and Louisiana legislators, all of whom expressed that

the primary purpose guiding SB8 was to create a second majority-Black district due

to the Robinson litigation.    As discussed supra, the Middle District, after the

preliminary injunction hearing in Robinson, found a likelihood of success on the

merits of the Robinson Plaintiffs’ claim that a second majority-minority district was

required by Section 2 of the Voting Rights. Although the preliminary injunction was


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vacated by the Fifth Circuit to allow the Legislature to enact a new map, legislators

chose to draw a map with a second majority-Black district in order to avoid a trial on

the merits in the Robinson litigation. See, e.g., Tr. Vol. III, 588:11-17 (“Judge Dick

has put us in a position and the Fifth Circuit, the panel that reviewed that decision,

and the whole court, when I asked them to go en banc, by declining to go on en banc,

have put us in a position pus [sic] of where we are today where we need to draw a

map.”); JE28, 46:5-101 (same); see also Tr. Vol. III, 589:1-3 (“The courts, never the

less, have told us to draw a new map. And they have indicated that we have a deadline

to do that or Judge Dick will draw the map for us.”); JE28 at 36:14-17 (same); JE36

at 33 (Senator Price: “Regardless of what you heard, we are on a court order and we

need to move forward. We would not be here if we were not under a court order to

get this done.”); JE36 at 1 (Senator Fields: “[B]oth the district and the appeals court

have said we need to do something before the next congressional elections.”); JE31,

26:12–24 (Chairman Beaullieu: “Senator Womack, why are we here today? What –

what brought us all to this special session as it – as it relates to, you know, what we’re

discussing here today?”; Senator Womack: “The middle courts of the district courts

brought us here from the Middle District, and said, ‘Draw a map, or I'll draw a map.’”;

Chairman Beaullieu: “Okay.”; Senator Womack: “So that’s what we’ve done.”;

Chairman Beaullieu: “And – and were you – does – does this map achieve that middle

court’s orders?”; Senator Womack: “It does.”); PE41, 75:24-76:2 (Representative

Lyons, Chairman of the House and Governmental Affairs Committee, stating “[T]he

mission we have here is that we have to create two majority-Black districts.”); PE41,

121:19–22 (Senator Womack stating that “… we all know why we’re here. We were


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ordered to – to draw a new Black district, and that’s what I’ve done.”); PE41, 9:3-8

(Representative Amedee: “Is this bill intended to create another black district?”

Representative Beaullieu: “Yes, ma’am, and to comply with the judge’s order.”); JE31,

97:17-19, 21-24 (Representative Carlson: “the overarching argument that I’ve heard

from nearly everyone over the last four days has been race first … race seems to be,

at least based on the conversations, the driving force….”). SB 8’s sponsor, Senator

Womack, also explicitly admitted that creating two majority-Black districts was “the

reason why District 2 is drawn around the Orleans Parish and why District 6 includes

the Black population of East Baton Rouge Parish and travels up the I-49 corridor to

include Black population in Shreveport.” PE41 at 26.

      The Court also acknowledges that the record includes evidence that race-

neutral considerations factored into the Legislature’s decisions, such as the protection

of incumbent representatives. See JE29 at 2-3 (Senator Womack discussing that SB8

protects Congresswoman Julia Letlow, U.S. Speaker of the House Mike Johnson, and

U.S. House Majority Leader Steve Scalise); Tr. Vol. I, 71:11-18, 79:1-4 (Senator

Pressley testifying that “[w]e certainly wanted to protect Speaker Johnson … We

wanted to make sure that we protected Steve Scalise.              Julia Letlow is on

Appropriations. That was also very important that we try to keep her seat as well.”);

Id. at 60:8-61:15 (Senator Seabaugh testifying that the fact that the Speaker and

Majority Leader are from Louisiana is “kind of a big deal” and that protecting Speaker




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Johnson, Majority Leader Scalise, and Representative Letlow was “an important

consideration when drawing a congressional map.”).10

       However, considering the circumstantial and the direct evidence of motive in

the creation of District 6, the Court finds that “racially motivated gerrymandering

had a qualitatively greater influence on the drawing of the district lines than

politically motivated gerrymandering.” Vera, 517 U.S. at 953. As in Shaw II and

Vera, the State first made the decision to create a majority-Black district and, only

then, did political considerations factor into the State’s creation of District 6. The

predominate role of race in the State’s decisions is reflected in the statements of

legislative decision-makers, the division of cities and parishes along racial lines, the

unusual shape of the district, and the evidence that the contours of the district were

drawn to absorb sufficient numbers of Black-majority neighborhoods to achieve the

goal of a functioning majority-Black district. If the State’s primary goal was to protect

congressional incumbents, the evidence in the record does not show that District 6 in

its current form was the only way to achieve that objective. As explained by the

Supreme Court:



10
        At bottom, it is not credible that Louisiana’s majority-Republican Legislature would
choose to draw a map that eliminated a Republican-performing district for predominantly
political purposes. The Defendants highlight the purported animosity between Governor
Jeff Landry and Representative Garrett Graves to support their contention that political
considerations served as the predominant motivating factor behind SB8. However, given
the slim majority Republicans hold in the United States House of Representatives, even if
such personal or intra-party animosity did or does exist, it is difficult to fathom that
Louisiana Republicans would intentionally concede a seat to a Democratic candidate on
those bases. Rather, the Court finds that District 6 was drawn primarily to create a second
majority-Black district that they predicted would be ordered in the Robinson litigation after
a trial on the merits. Thus, it is clear that race was the driving force and predominant
factor behind the creation of District 6.


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      One, often highly persuasive way to disprove a States contention that
      politics drove a district’s lines is to show that the legislature had the
      capacity to accomplish all its partisan goals without moving so many
      members of a minority group into the district. If you were really sorting
      by political behavior instead of skin color (so the argument goes) you
      would have done – or, at least, could just as well have done – this. Such
      would-have, could-have, and (to round out the set) should-have
      arguments are a familiar means of undermining a claim that an action
      was based on a permissible, rather than a prohibited, ground.

Cooper, 581 U.S. at 317. In the present case, the record reflects that the State could

have achieved its political goals in ways other than by carving up and sorting by race

the citizens of Baton Rouge, Lafayette, Alexandria, and Shreveport. Put another way,

the Legislature’s decision to increase the BVAP of District 6 to over 50 percent was

not required to protect incumbents and supports the Plaintiffs’ contention that race

was the predominate factor in drawing the district’s boundaries. In sum, Plaintiffs

have met their initial burden, and the burden now shifts to the State to prove that

District 6 survives strict scrutiny.

B.    Strict Scrutiny

      When a Plaintiff succeeds in proving racial predominance, the burden shifts to

the State to “demonstrate that its districting legislation [was] narrowly tailored to

achieve a compelling interest.” Bethune-Hill, 580 U.S. at 193 (citing Miller, 515 U.S.

at 920).

      1. Compelling State Interest

      The State argues that compliance with Section 2 of the Voting Rights Act is a

compelling state interest.    The Supreme Court has repeatedly assumed without

deciding that compliance with the Voting Rights Act is a compelling interest. See

Shaw II, 517 U.S. at 915; Cooper, 581 U.S. at 292; Bethune-Hill, 580 U.S. at 193. To


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show that the districting legislation satisfies the “narrow tailoring” requirement “the

state must establish that it had ‘good reasons’ to think that it would transgress the

act if it did not draw race-based district lines.” This “strong basis (or ‘good reasons’)

standard” provides “breathing room” to the State “to adopt reasonable compliance

measures that may prove, in perfect hindsight not to have been needed.” Cooper, 581

U.S. at 293 (quoting Bethune–Hill, 581 U.S. at 293) (emphasis added). Moreover, the

Supreme Court has often remarked that “redistricting is primarily the duty and

responsibility of the State,” not of the courts. Abbott v. Perez, 585 U.S. 579, 603, 138

S. Ct. 2305, 2324, 201 L.Ed.2d 714 (2018) (citing Miller, 515 U.S. at 915).

      Turning to the present case, the State argues that it had a “strong basis” in

evidence to believe that the district court for the Middle District was likely, after a

trial on the merits in Robinson, to rule that Louisiana’s congressional map violated

Section 2 of the Voting Rights Act and order the creation of a second majority-Black

district. See Robinson Appeal Ruling at 583 (vacating the district court’s preliminary

injunction and granting the Legislature the opportunity to draw a new map instead

of advancing to a trial on the merits of HB1); See also Robinson Docket, [Doc. 315]

(“If the Defendant/Intervenors fail to produce a new enacted map on or before

[January 30, 2024], this matter will proceed to a trial on the merits on [February 5,

2024], which shall continue daily until complete”); see, e.g., JE36 at 4 (Senator Price:

“We all know that we’ve been ordered by the court that we draw congressional

districts with two minority districts. This map will comply with the order of both the

Fifth Circuit Court of Appeals and the district court.       They have said that the

Legislature must pass a map that has two majority black districts.”); JE33, 5:1-7


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(Representative Beaullieu: “As Senator Stine said earlier in this week, ‘It’s with a

heavy heart that I present to you this other map,’ but we have to. It’s that clear. A

federal judge has ordered us to draw an additional minority seat in the State of

Louisiana.”); JE34, 11:3–7 (Senator Carter: “[W]e came together in an effort to comply

with a federal judge’s order that Louisiana provide equal representation to the

African Americans in the State of Louisiana, and we have an opportunity to do that.”);

JE36 at 18 (Representative Marcelle: “Let’s not let Judge Dick have to do what our

job is, which is to create a second minority-majority district.”); JE30, 20:22–21:4

(Senator Duplessis: “It's about a federal law called the Voting Rights Act that has not

been interpreted just by one judge in the Middle District of Louisiana who was

appointed by former president Barack Obama, but also a U.S. Fifth Circuit Court of

Appeals that’s made up of judges that were appointed by predominantly Republican

presidents, and a United States Supreme Court that has already made rulings.”); Tr.

Vol. I, 47:22-48:1 (Senator Seabaugh: “Well, the – really, the only reason we were

there was because of the other litigation; and Judge Dick saying that she – if we didn’t

draw the second minority district, she was going to. I think that’s the only reason we

were there.”); Tr. Vol. I, 69:24-70:4 (Senator Pressly: “We were told that we had to

have two performing African American districts. And that we were – that that was

the main tenet that we needed to look at and ensure that we were able to draw the

court – draw the maps; otherwise, the Court was going to draw the maps for us”).

      The Court assumes, without deciding, that compliance with Section 2 was a

compelling interest for the State to attempt to create a second majority-Black district

in the present case.    However, even assuming that the Voting Rights Act is a


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compelling state interest in this case, that compelling interest does not support the

creation of a district that does not comply with the factors set forth in Gingles or

traditional districting principles. See e.g., Shaw II, 517 U.S. at 915 (“We assume,

arguendo, for the purpose of resolving this suit, that compliance with Section 2 could

be a compelling interest” but hold that the remedy is not narrowly tailored to the

asserted end); Vera, 517 U.S. at 977 (plurality opinion) (“[W]e assume without

deciding that compliance with [the Voting Rights Act], as interpreted by our

precedents, can be a compelling state interest” but hold that the districts at issue are

not “narrowly tailored” to achieve that interest (citation omitted)); Ala. Legis. Black

Caucus, 575 U.S. at 279 (“[W]e do not here decide whether … continued compliance

with § 5 [of the Voting Rights Act] remains a compelling interest” because “we

conclude that the District Court and the legislature asked the wrong question with

respect to narrow tailoring.”).

      Indeed, the Supreme Court has made clear that, in the context of a

constitutional challenge to a districting scheme, “unless each of the three Gingles

prerequisites is established, “ ‘there neither has been a wrong nor can be a remedy’”

and the districting scheme does not pass muster under strict scrutiny. Cooper v.

Harris, 581 U.S. at 306 (quoting Growe v. Emison, 507 U.S. 25, 41, 113 S. Ct. 1075,

1084, 122 L.Ed.2d 388 (1993)). With respect to traditional districting requirements,

the Supreme Court has consistently warned that, “§ 2 never require[s] adoption of

districts that violate traditional redistricting principles. Its exacting requirements,

instead, limit judicial intervention to ‘those instances of intensive racial politics’

where the ‘excessive role [of race] in the electoral process ... den[ies] minority voters


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equal opportunity to participate.’ ” Allen v. Milligan, 599 U.S. at 29–30 (internal

citations omitted).11 Accordingly, whether District 6, as drawn, is “narrowly tailored”

requires the Court to address the Gingles factors as well as traditional districting

criteria.

              a.     Consideration of the Gingles Factors

       The Supreme Court in Gingles set out how courts must evaluate claims

alleging a Section 2 violation of the Voting Rights Act. Gingles involved a challenge

to North Carolina’s districting scheme, which purportedly diluted the vote of its Black

citizens. Gingles, 478 U.S. at 34–36.

       Gingles emphasized precisely what Section 2 guards against. “The essence of

a § 2 claim,” the Court explained, “is that a certain electoral law, practice, or structure

interacts with social and historical conditions to cause an inequality in the

opportunities enjoyed by black and white voters.” Id. at 47. This inequality occurs

where an “electoral structure operates to minimize or cancel out” minority voters’

“ability to elect their preferred candidates.” Id. at 48. This risk is greatest “where

minority and majority voters consistently prefer different candidates” and where

minority voters are submerged in a majority voting population that “regularly

defeat[s]” their choices. Ibid.


11     The concern that Section 2 may impermissibly elevate race in the allocation of political
power within the states is, of course, not new. See, e.g., Shaw I, 509 U.S. at 657 (“Racial
gerrymandering, even for remedial purposes, may balkanize us into competing racial
factions; it threatens to carry us further from the goal of a political system in which race no
longer matters.”); Allen v. Milligan, 599 U.S. at 41–42. To ensure that Gingles does not
improperly morph into a proportionality mandate, courts must rigorously apply the
“geographically compact” and “reasonably configured” requirements. Id. at 44 (Kavanaugh
concurrence, n. 2).



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      But Section 2 of the Voting Rights Act explicitly states that, “nothing in this

section establishes a right to have members of a protected class elected in numbers

equal to their proportion in the population.” 52 U.S.C. § 10301. And the Supreme

Court has repeatedly admonished that Gingles does not mandate a proportional

number of majority-minority districts. Indeed, “[i]f Gingles demanded a proportional

number of majority-minority districts, States would be forced to group together

geographically dispersed minority voters into unusually shaped districts, without

concern for traditional districting criteria such as county, city, and town lines. But

Gingles and this Court’s later decisions have flatly rejected that approach.” Allen v.

Milligan, 599 U.S. at 43–44 (Kavanaugh concurring) (citing Abbott, 585 U.S. at 615;

Vera, 517 U.S. at 979; Gingles, 478 U.S. at 50; Miller, 515 U.S. at 917–920; and Shaw

I, 509 U.S. at 644–649).

      Instead, Gingles requires the creation of a majority-minority district only

when, among other things: (i) a State’s redistricting map cracks or packs a large and

“geographically compact” minority population and (ii) a plaintiff’s proposed

alternative map and proposed majority-minority district are “reasonably configured”

– namely, by respecting compactness principles and other traditional districting

criteria such as county, city, and town lines.      Allen v. Milligan, 599 U.S. at 43

(Kavanaugh concurring) (citing Cooper, 581 U.S. at 301–302; Voinovich v. Quilter,

507 U.S. 146, 153–154, 113 S. Ct. 1149, 122 L.Ed.2d 500 (1993)).

      In order to succeed in proving a Section 2 violation under Gingles, Plaintiffs

must satisfy three specific “preconditions.”   Gingles, 478 U.S. at 50.     First, the

“minority group must be sufficiently large and [geographically] compact to constitute


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a majority in a reasonably configured district.” Wisconsin Legislature v. Wisconsin

Elections Comm'n, 595 U.S. 398, 402, 142 S. Ct. 1245, 1248, 212 L.Ed.2d 251 (2022)

(per curiam) (citing Gingles, 478 U.S. at 46–51). Case law explains that a district will

be reasonably configured if it comports with traditional districting criteria, such as

being contiguous and reasonably compact. See Ala. Legis. Black Caucus, 575 U.S. at

272. “Second, the minority group must be able to show that it is politically cohesive.”

Gingles, 478 U.S. at 51. Third, “the minority must be able to demonstrate that the

white majority votes sufficiently as a bloc to enable it ... to defeat the minority’s

preferred candidate.”    Ibid.   Finally, a plaintiff who demonstrates the three

preconditions must also show, under the “totality of circumstances,” that the political

process is not “equally open” to minority voters. Id. at 38-38 and 45-46 (identifying

several factors relevant to the totality of circumstances inquiry, including “the extent

of any history of official discrimination in the state ... that touched the right of the

members of the minority group to register, to vote, or otherwise to participate in the

democratic process.”).

      Each of the three Gingles preconditions serves a different purpose. The first,

which focused on geographical compactness and numerosity, is “needed to establish

that the minority has the potential to elect a representative of its own choice in some

[reasonably configured] single-member district.” Growe, 507 U.S. at 40. The second,

which concerns the political cohesiveness of the minority group, shows that a

representative of its choice would in fact be elected. Ibid. The third precondition,

which focuses on racially polarized voting, “establish[es] that the challenged

districting thwarts a distinctive minority vote” at least plausibly on account of race.


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Ibid. Finally, the totality of circumstances inquiry recognizes that application of the

Gingles factors is “peculiarly dependent upon the facts of each case.” 478 U.S. at 79.

Before a court can find a violation of Section 2, therefore, they must conduct “an

intensely local appraisal” of the electoral mechanism at issue, as well as “searching

practical evaluation of the ‘past and present reality.’ ” Ibid.

      In the present case, the State simply has not met its burden of showing that

District 6 satisfies the first Gingles factor – that the “minority group [is] sufficiently

large and [geographically] compact to constitute a majority in a reasonably configured

district.” The record reflects that, outside of southeast Louisiana, the State’s Black

population is dispersed. That required the State to draw District 6 as a “bizarre” 250-

mile-long slash-shaped district that functions as a majority-minority district only

because it severs and absorbs majority-minority neighborhoods from cities and

parishes all the way from Baton Rouge to Shreveport. As discussed below, this fails

to comport with traditional districting principles.

             b.      Traditional Districting Principles

      The    first   Gingles   factor    requires   that   a   minority     population   be

“[geographically] compact to constitute a majority in a reasonably configured

district.” Allen v. Milligan, 599 U.S. at 18 (quoting Wisconsin, 595 U.S. at 402). This

requires consideration of traditional districting principles.

      Traditional districting principles consist of six criteria that arose from case

law. The first three are geographic in nature and are as follows: (1) compactness, (2)

contiguity, and (3) preservation of parishes and respect for political subdivisions.

Shaw I, 509 U.S. at 647. The Supreme Court has emphasized that “these criteria are


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important not because they are constitutionally required – they are not, cf. Gaffney

v. Cummings, 412 U.S. 735, 752, n. 18, 93 S. Ct. 2321, 2331, n. 18, 37 L.Ed.2d 298

(1973) – but because they are objective factors that may serve to defeat a claim that

a district has been gerrymandered on racial lines.” Id. The other three include

preservation of communities of interest, preservation of cores of prior districts, and

protection of incumbents. See Miller, 515 U.S. at 916; Karcher v. Daggett, 462 U.S.

725, 740 (1983).

      Joint Rule 21 – enacted by the Legislature in 2021 – contains criteria that must

be satisfied by any redistricting plan created by the Legislature, separate and apart

from compliance with the Voting Rights Act and Equal Protection Clause. JE2. Joint

Rule 21 states, relevantly, that “each district within a redistricting plan … shall

contain whole election precincts as those are represented as Voting Districts (VTDs)”

and “[i]f a VTD must be divided, it shall be divided into as few districts as possible.”

Id. at (G)(1)-(2).   Joint Rule 21 further requires the Legislature to “respect the

established boundaries of parishes, municipalities, and other political subdivisions

and natural geography of this state to the extent practicable.” Id. at (H). However,

this requirement does not take precedence over the preservation of communities of

interest and “shall not be used to undermine the maintenance of communities of

interest within the same district to the extent practicable.” Id.

      The Supreme Court case of Miller v. Johnson demonstrates how traditional

districting criteria applies to a racial gerrymandering claim. 515 U.S. at 910–911.

There, the Supreme Court upheld a district court’s finding that one of Georgia’s ten

congressional districts was the product of an impermissible racial gerrymander. Id.


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At the time, Georgia’s BVAP was 27 percent, but there was only one majority-

minority district. Id. at 906. To comply with the Voting Rights Act, Georgia’s

government thought it necessary to create two more majority-minority districts –

thereby achieving proportionality. Id. at 920–921. But like North Carolina in Shaw

I, Georgia could not create the districts without flouting traditional criteria. Instead,

the unconstitutional district “centered around four discrete, widely spaced urban

centers that ha[d] absolutely nothing to do with each other, and stretch[ed] the

district hundreds of miles across rural counties and narrow swamp corridors.” Miller,

515 U.S. at 908. The Court called the district a geographic “monstrosity.” Allen v.

Milligan, 599 U.S. at 27–28 (citing Miller, 515 U.S. at 909).

             c.     Communities of Interest

      Perhaps more than any other state of its size, the State of Louisiana is

fortunate to have a rich cultural heritage, including diverse ethnicities, customs,

economic drivers, types of agriculture, and religious affiliations. While the Court is

not bound by the decisions in the Hays litigation – made some thirty years ago and

involving a different though similar map, and different Census numbers – much of

the “local appraisal” analysis from Hays I remains relevant to an analysis of SB8.

There, the Hays court concluded that the distinct and diverse economic interests

encapsulated in the challenged district, namely

      cotton and soybean plantations, centers of petrochemical production,
      urban manufacturing complexes, timberlands, sawmills and paper
      mills, river barge depots, and rice and sugarcane fields are strung
      together to form the eclectic and incoherent industrial base of District 4.
      These diverse segments of the State economy have little in common.
      Indeed, their interests more often conflict than harmonize.



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Hays I, 839 F. Supp. at 1201. Though this was written 30 years ago, the same is true

today. And like the predecessor districts drawn in Hays, it is readily apparent to

anyone familiar with Louisiana history and culture that Congressional District 6 also

       violates the traditional north-south ethno-religious division of the State.
       Along its circuitous route, this new district combines English–Scotch–
       Irish, mainline Protestants, traditional rural Black Protestants, South
       Louisiana Black Catholics, Continental French–Spanish–German
       Roman Catholics, sui generis Creoles, and thoroughly mixed polyglots,
       each from an historically discrete and distinctive region of Louisiana, as
       never heretofore so extensively agglomerated.

Id.

       Indeed as succinctly stated by the Hays court, the differences between North

Louisiana, Baton Rouge, and Acadiana in term of culture, economic drivers, types of

agriculture, and religious affiliations are pronounced.12 This is so well known that


12      Among other strong cultural and ethnic groups divided by SB8, the French Acadian
(“Cajun”) and Creole communities in Southwest Louisiana have a strong identity and a
shared history of adversity. The Acadians, for their part, were expelled from Nova Scotia by
the British and Anglo-Americans during the French and Indian War, and some settled into
the southwestern parishes of Louisiana (“Acadiana”). See Carl A. Brasseaux, The Founding
of New Acadia: The Beginning of Acadian Life in Louisiana, 1765-1803 (Chapter 5)
(Louisiana State University Press 1987). This historical event is well-known in Louisiana
and referred to as Le Grand Dérangement. See William Faulker Rushton, The Cajuns From
Acadia to Louisiana (Farrar Straus Giroux 1979). The Acadian refugees made their homes
in the foreign swamps and bayous of southern Louisiana and from there, built a rich and
persisting culture – marked by their distinct dialect of French, and their cuisine, music,
folklore, and Catholic faith. See Brasseaux, The Founding of New Acadia.

        In 1921, Louisiana’s Constitution eliminated any reference to the French language
and instead required only English to be taught, used, and spoken in Louisiana schools, which
detrimentally affected the continuation of Cajun French. Roger K. Ward, The French
Language in Louisiana Law and Legal Education: A Requiem, 57 La. L. Rev. 1299 (1997).
https://digitalcommons.law.lsu.edu/cgi/viewcontent.cgi?article=5694&context=lalrev.

        Remarkably, after years of cultural suppression, the late 1960s/early 1970s witnessed
collective activism to revive Cajun French and culture in the area. Id. at 1299; see also
https://www.nationalgeographic.com/culture/article/reviving-the-cajun-dialect. Thankfully,
Louisiana’s 1974 Constitution safeguarded efforts by Cajun cultural groups to “ensure [their]
preservation and proliferation.” Id. at 1300. To this day, Acadiana celebrates its


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any Louisiana politician seeking statewide office must first develop a strategy to

bridge the regional cultural and religious differences in Louisiana.13

       There is no doubt that District 6 divides some established communities of

interest from one another while collecting parts of disparate communities of interest

into one voting district. Among other things, District 6 in SB8 splits six of the ten

parishes that it touches. As the Court succinctly states in Hays, “there is no more

fundamental unit of societal organization in the history of Louisiana than the parish.”

Hays I, 839 F. Supp. at 1200.

       District 6 also divides the four largest cities and metropolitan areas in its path

along clearly racial lines. Among these are three of the four largest cities in Louisiana

— i.e., Baton Rouge, Lafayette, and Shreveport. And the maps in the record are clear

that the division of these communities is based predominantly on the location of

majority-Black voting precincts. Indeed, SB8, just like the congressional districts in

Hays I, “violates the boundaries of nearly all major municipalities in the State.” Hays



Francophone ties with festivals such as Festival International de Louisiane, which features
Francophone musicians and artisans from around the world, and Festival Acadiens and
Créoles, the largest Cajun and Creole festival in the world. Further, to preserve the
language, organizations such as CODOFIL support the preservation of the French language
in Louisiana, and on a smaller scale, many community members form “French tables” where
only French is allowed to be spoken. The unique community of Acadiana, among many others
in Louisiana, with a deep connection and awareness of its past, certainly constitutes a
community of interest. Race predominating, SB8 fails to take into account Louisiana’s
diverse cultural, religious, and social landscape in any meaningful way.

13      Attempting to bridge the north-south religious divide, one of Louisiana’s most famous
politicians, Huey Long, began his stump speech by claiming, that, “when I was a boy, I would
get up at six o’clock in the morning on Sunday, and I would take my Catholic grandparents
to mass. I would bring them home, and at ten o’clock I would hitch the old horse up again,
and I would take my Baptist parents to church.” A colleague later said, “I didn’t know you
had any Catholic grandparents.” To which he replied, “Don’t be a damned fool. We didn’t
even have a horse.”


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I, 839 F. Supp. at 1201. The law is crystal clear on this point. As the Supreme Court

held in Allen v. Milligan, it is unlawful to “concentrate[] a dispersed minority

population in a single district by disregarding traditional districting principles such

as compactness, contiguity, and respect for political subdivisions,” reaffirming that

“[a] reapportionment plan that includes in one district individuals who belong to the

same race, but who are otherwise separated by geographical and political

boundaries,” raises serious constitutional concerns. 599 U.S. at 27 (citing Shaw I,

509 U.S. at 647). Based upon the foregoing, the Court finds that SB8’s District 6 does

not satisfy the “geographically compact” and “reasonably configured” Gingles

requirement.

             d.     Respect for        Political    Subdivisions        and   Natural
                    Boundaries

      Nor does SB8 take into account natural boundaries such as the Atchafalaya

Basin, the Mississippi River, or the Red River. Just as in Miller, District 6 of SB8

“centers around four discrete, widely spaced urban centers that have absolutely

nothing to do with each other, and stretches the district hundreds of miles across

rural counties and narrow swamp corridors.” 515 U.S. at 908; Allen v. Milligan, 599

U.S. at 27–28 (citing Miller v. Johnson). Specifically, District 6’s population centers

around the widely-spaced urban centers of Shreveport, Alexandria, Lafayette, and

Baton Rouge – each of which is an independent metropolitan area – and are connected

to one another only by rural parishes having relatively low populations. Importantly,

none of these four cities or the parishes in which they are located are, by themselves,

large enough to require that they be divided to comply with the “one person, one vote”



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requirement of the Fourteenth Amendment. Reynolds v. Sims, 377 U.S. 533, 566, 84

S. Ct. 1362, 1384, 12 L.Ed.2d 506 (1964).

             e.     Compactness

      The record also includes statistical evidence showing that District 6 is not

“compact” as required by traditional districting principles. Specifically, Dr. Voss

testified that, based on three measures of compactness — (i) the Reock Score; (ii) the

Polsby-Popper score; and (iii) the Know It When You See It (“KIWYSI”) score — the

current form of District 6 in SB8 performs worse than the districts in either HB1 (the

map that was enacted in 2022) or the map that HB1 replaced from the previous

decade. Tr., Vol. I, 100:22-103:5; 104:25-105:4; PE7. Thus, SB8 does not produce

compact maps when judged in comparison to other real-life congressional maps of

Louisiana. Tr., Vol. I, 107:16-21. Dr. Voss also opined that SB8’s majority-Black

districts were especially non-compact compared to other plans that also included two

majority-minority districts. Id. at 106:17-24. According to Dr. Voss, SB8’s District 6

scored worse on the Polsby-Popper test than the second majority-Black districts in

other proposed plans that created a second majority-Black district. Id. at 106:17-24.

      In sum, District 6 does not satisfy the first Gingles precondition nor does it

comply with traditional districting principles. Accordingly, SB8 and, more

specifically, District 6 cannot withstand strict scrutiny. That being said, while the

record is clear that Louisiana’s Black population has become more dispersed and

integrated in the thirty years since the Hays litigation (and Louisiana now has only

six rather than the seven Congressional districts it had at that time), this Court does

not decide on the record before us whether it is feasible to create a second majority-


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Black district in Louisiana that would comply with the Equal Protection Clause of

the Fourteenth Amendment. However, we do emphasize that Section 2 of the Voting

Rights Act never requires race to predominate in drawing Congressional districts at

the sacrifice of traditional districting principles. Allen v. Milligan, 599 U.S. at 29–30

(internal citations omitted).

                                        V.
                                  REMEDIAL PHASE

      The Court will hold a status conference to discuss the remedial stage of this

trial on May 6, 2024, at 10:30 a.m. CST.

                                            VI.
                                     CONCLUSION

      As our colleagues so elegantly stated in Hays II, the long struggle for civil

rights and equal protection under the law that has taken place in Louisiana and

throughout our country, includes:

      countless towns across the South, at schools and lunch counters, at voter
      registrar’s offices. They stood there, black and white, certain in the
      knowledge that the Dream was coming; determined that no threat, no
      spittle, no blow, no gun, no noose, no law could separate us because of
      the color of our skin. To say now: “Separate!” “Divide!” “Segregate!” is
      to negate their sacrifice, mock their dream, deny that self-evident truth
      that all men are created equal and that no government may deny them
      the equal protection of its laws.

Hays II at 125. The Court agrees and finds that SB8 violates the Equal Protection

Clause as an impermissible racial gerrymander.

      In light of the foregoing, the Court GRANTS PLAINTIFFS’ REQUEST FOR

INJUNCTIVE RELIEF. The State of Louisiana is prohibited from using SB8’s map of

congressional districts for any election.



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      A status conference is hereby set on May 6, 2024, at 10:30 a.m. CST to discuss

the remedial stage of this trial. Representatives for each party must attend.


      THUS, DONE AND SIGNED on this 30th day of April 2024.



                                       __________________________________________
                                       ROBERT R. SUMMERHAYS
                                       UNITED STATES DISTRICT JUDGE
                                       WESTERN DISTRICT OF LOUISIANA



                                       __________________________________________
                                       DAVID C. JOSEPH
                                       UNITED STATES DISTRICT JUDGE
                                       WESTERN DISTRICT OF LOUISIANA




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      Carl E. Stewart, Circuit Judge, dissenting:
              Contrary to my panel colleagues, I am not persuaded that Plaintiffs
      have met their burden of establishing that S.B. 8 is an unconstitutional racial
      gerrymander. The totality of the record demonstrates that the Louisiana
      Legislature weighed various political concerns—including protecting of
      particular incumbents—alongside race, with no factor predominating over
      the other. The panel majority’s determination that S.B. 8 is unconstitutional
      is incredibly striking where, as here, Plaintiffs did not even attempt to
      address or disentangle the various political currents that motivated District
      6’s lines in S.B. 8. 1 While this inquiry should end at racial predominance, I
      would further hold that S.B. 8 satisfies strict scrutiny because the Supreme
      Court has never imposed the aggressive incursion on state sovereignty that
      the panel majority advocates for here. Indeed, the panel majority’s
      requirements for permissible electoral map trades in the substantial
      “breathing room” afforded state legislatures in reapportionment for a
      tightly wrapped straight-jacket. Therefore, I respectfully dissent.
                                      I. Factual Background
              The Supreme Court has undoubtedly recognized that in a “more
      usual case,” alleging racial gerrymandering, a trial court “can make real
      headway by exploring the challenged district’s conformity to traditional
      districting principles, such as compactness and respect for county lines.”


              1
                 Notably, none of the plaintiffs in this case demonstrated that S.B. 8 had a
      discriminatory effect on them based on their race. None of them testified or otherwise
      entered any evidence into the record of their racial identity, which conflicts with the well-
      recognized principle that actionable intentional discrimination must be against an
      “identifiable group.” See Fusilier v. Landry, 963 F.3d 447, 463 (5th Cir. 2020). As an aside,
      nearly all of the plaintiffs in this case lack standing to allege this racial gerrymandering
      claim because they do not reside in District 6. See United States v. Hays, 515 U.S. 737,
      744–45 (1996).
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      Cooper v. Harris, 581 U.S. 285, 308 (2017). Notably, the panel majority has
      proceeded full steam ahead in this direction without proper regard for the
      atypical nature of this case and trial record. Because of this, the panel
      majority has mis-stepped with regard to their approach, resulting in
      numerous errors and omissions in both their reasoning and holding.
              One such omission derives from the fact that none of the prior
      redistricting cases arrive from the same genesis as this one. This case
      involves important distinctions, worth noting, that make it anything but a
      “usual” racial gerrymandering case. See Cooper, 581 U.S. at 308. First, the
      State has made no concessions to racial predominance. 2 Second, the State
      affirmatively invokes a political motivation defense. 3 Third, the State
      constructively points—not to a Justice Department demand letter as “a
      strong basis in evidence” but—to the findings of an Article III judge. 4 The
      panel majority has failed to adequately grapple with each of these relevant
      factors, I will address them herein.

              I start with the 2020 Census because understanding the setting is
      necessary in deciding this nuanced and context-specific case. The Supreme
      Court has said as much. It has held that the “historical background of the
      decision is one evidentiary source, particularly if it reveals a series of official


              2
               See Miller v. Johnson, 515 U.S. 900, 918 (1995) (“The court supported its
      conclusion not just with the testimony . . . but also with the State’s own concessions.”).
              3
               E.g., Cooper, 581 U.S. at 308 (2017) (citing Hunt v. Cromartie, 526 U.S. 541, 547
      n.3 (1999) (“Cromartie I”)) (emphasizing the importance of inquiries into asserted political
      or partisanship defenses since bizarrely shaped districts “can arise from a ‘political
      motivation’ as well as a racial one”).
              4
                See Miller, 515 U.S. at 918 (“Hence the trial court had little difficulty concluding
      that the Justice Department spent months demanding purely race-based revisions to
      Georgia’s redistricting plans, and that Georgia spent months attempting to comply.”)
      (internal citation and quotation marks omitted).




                                                    2
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      actions taken for invidious purposes. The specific sequence of events
      leading up to the challenged decision also may shed some light on the
      decisionmaker’s purposes.” Village of Arlington Heights v. Metro. Hous.
      Dev. Corp., 429 U.S. 252, 267 (1977) (internal citations omitted). Effectually,
      it is a mistake to view this case in a vacuum—as if the Louisiana Legislature’s
      redistricting efforts and duties burgeon in January 2024. Instead, viewing
      the case within the lens of the appropriate backdrop—the United States and
      Louisiana Constitutions, Robinson v. Ardoin, 5 and Governor Landry’s call to
      open the 2024 Extraordinary Legislative Session—the Legislature had an
      obligation to reapportion.
              The U.S. Constitution sets out that “[t]he House of Representatives
      shall be composed of Members chosen every second Year by the People of
      the several States.” It further vests state legislatures with the primary
      responsibility to craft federal congressional districts, namely through the
      Election Clause. U.S. Const. art. I, § 4, cl. 1. Article III, § 6 of the Louisiana
      Constitution charges the Louisiana Legislature with the duty to reapportion
      the single-member districts for the U.S. House of Representatives after each
      decennial census. La. Const. art. III, § 6. In April 2021, the results of the 2020
      Census were delivered to Louisiana and the state’s congressional
      apportionment remained six seats in the U.S. House of Representatives.
      Robinson Interv. FOF, ECF 189-1, 11 (citing Robinson I, 605 F. Supp. 3d 767).
      The 2020 Census data would drive the state of Louisiana’s redistricting
      process. See La. Const. art. III, § 6; Robinson I, 605 F. Supp. 3d at 767.




              5
               Robinson v. Ardoin, 605 F. Supp. 3d 759, 767 (M.D. La. 2022) (“Robinson I”), cert.
      granted before judgment, 142 S. Ct. 2892 (2022), and cert. dismissed as improvidently
      granted, 143 S. Ct. 2654 (2023), and vacated and remanded, 86 F.4th 574 (5th Cir. 2023).




                                                  3
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             “Leading up to their redistricting session, legislators held a series of
      ‘roadshow’ meetings across the state, designed to share information about
      redistricting and solicit public comment and testimony, which lawmakers
      described as absolutely vital to this process.” Id. “The drawing of new maps
      was guided in part by Joint Rule No. 21, passed by the Louisiana Legislature
      in 2021 to establish criteria that would ‘promote the development of
      constitutionally and legally acceptable redistricting plans.’” Robinson I, 605
      F. Supp. 3d at 767. “The Legislature convened on February 1, 2022 to begin
      the redistricting process; on February 18, 2022, H.B. 1 and S.B. 5, the bills
      setting forth new maps for the 2022 election cycle, passed the Legislature.”
      Id. at 767–68.
             Following the promulgation of H.B. 1, a select group of Black voters
      brought a claim under § 2 of the Voting Rights Act of 1965 (“VRA”) to
      invalidate the congressional maps. See id. at 760. The events of that
      litigation as it proceeded through in the Middle District of Louisiana and the
      Fifth Circuit propelled the newly elected Governor Jeff Landry to call an
      Extraordinary Legislative Session in January 2024. See JE 35 at 10–14.
      Ultimately, S.B. 8 “was chosen over other plans with two majority-Black
      districts that were more compact and split fewer parishes and
      municipalities because those plans failed to achieve the overriding goal of
      protecting the seats of United States House Speaker Mike Johnson, Majority
      Leader Steve Scalise, and Representative Julia Letlow at the expense of
      Representative Garret Graves.” Robinson Interv. Post-trial Memo, ECF 189
      at 1; Robinson Interv. FOF, ECF 189-1, at 33–35, ¶¶ 135–142.
             While the panel majority repeatedly concedes that the Hays
      litigation is three decades old and relies on now-antiquated data, its opinion
      nevertheless presses forward by drawing parallels and making conclusions
      that are devoid of crucial context. The panel majority avers that “much of




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      the ‘local appraisal’ analysis from Hays I remains relevant to an analysis of
      S.B.8,” claiming that S.B. 8’s District 6 succumbs to the same violations of
      the “traditional north-south ethno-religious division of the State.” Majority
      Op. 53-54. Unlike Hays, where the cartographer tasked with drawing the
      map conceded that he “concentrated virtually exclusively on racial
      demographics and considered essentially no other factor except the
      ubiquitous constitutional ‘one person-one vote’ requirement,” 6 the record
      before this court is filled with evidence that political factors were
      paramount in the drawing of S.B. 8. Additionally, the racial makeup of the
      state has changed drastically over the past three decades. As the Middle
      District of Louisiana adeptly concluded:
             By every measure, the Black population in Louisiana has
             increased significantly since the 1990 census that informed
             the Hays map. According to the Census Bureau, the Black
             population of Louisiana in 1990 was 1,299,281.285. At the
             time, the Census Bureau did not provide an option to identify
             as more than one race. The 2020 Census results indicate a
             current Black population in Louisiana of 1,464,023 using the
             single-race Black metric, and 1,542,119 using the Any Part
             Black metric. So, by the Court’s calculations, the Black
             population in Louisiana has increased by at least 164,742 and
             as many as 242,838 since the Hays litigation. Hays, decided on
             census data and demographics 30 years ago, is not a magical
             incantation with the power to freeze Louisiana’s
             congressional maps in perpetuity. Hays is distinguishable and
             inapplicable.

      Robinson I, 605 F. Supp. 3d at 834. Given this pivotal context, I deem it a
      grievous error for the panel majority to place the Hays map and S.B. 8 map



             6
                 Hays v. State, 936 F. Supp. 360, 368 (W.D. La. 1996).




                                                   5
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      side-by-side and imply that the similarities in district shape alone are
      dispositive. The panel majority is correct, however, that “[this] Court is not
      bound by the decisions in the Hays litigation.” Majority Op. 53.
                                 II. Racial Predominance
             Because of the interminable interplay between satisfying the
      Fourteenth Amendment and complying with § 2 of the VRA, it is axiomatic
      that electoral districting involves some racial awareness. Redistricting
      violates the Equal Protection Clause of the Fourteenth Amendment when
      race is the “predominant” consideration in deciding “to place a significant
      number of voters within or without a particular district.” Miller, 515 U.S. at
      913, 916. However, the Supreme Court has highlighted that:
             [Electoral] districting differs from other kinds of state
             decision-making in that the legislature always is aware of race
             when it draws district lines, just as it is aware of age, economic
             status, religious and political persuasion, and a variety of
             other demographic factors. That sort of race consciousness
             does not lead inevitably to impermissible race discrimination.
      Shaw v. Reno, 509 U.S. 630, 646 (1993) (“Shaw I”); see also Miller, 515 U.S.
      at 915–16 (“Redistricting legislatures will . . . almost always be aware of
      racial demographics; but it does not follow that race predominates in the
      redistricting process.”). The Court again reemphasized in Easley v.
      Cromartie that “race must not simply have been a motivation for the
      drawing of a majority-minority district but the predominant factor
      motivating the legislature’s districting decision.” 532 U.S. 234, 241 (2001)
      (“Cromartie II”) (internal citations and quotation marks omitted).
      Consequently, in my view, the panel majority has not properly assessed
      “predominance” under the relevant caselaw.
             Specifically, the Supreme Court has directed “courts, in assessing the
      sufficiency of a challenge to a districting plan, [to] be sensitive to the



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      complex interplay of forces that enter a legislature’s redistricting calculus.”
      Miller, 515 U.S. at 915–16. This sensitive inquiry requires a careful balancing
      of the legislative record and evidence adduced at trial to unpack the
      motivations behind the lines on the map. The Court in Miller explained that:
             The distinction between being aware of racial considerations
             and being motivated by them may be difficult to make. This
             evidentiary difficulty, together with the sensitive nature of
             redistricting and the presumption of good faith that must be
             accorded legislative enactments, requires courts to exercise
             extraordinary caution in adjudicating claims that a State has
             drawn district lines on the basis of race.
      Id. at 916. The Supreme Court in Alabama Legislative Black Caucus v.
      Alabama reaffirmed the characterizations of “predominance” and the
      associated burden of proof. 575 U.S. 254, 272 (2015) Plainly, “a plaintiff
      pursuing a racial gerrymandering claim must show that race was the
      predominant factor motivating the legislature’s decision to place a
      significant number of voters within or without a particular district.” Id.
      (quoting Miller, 515 U.S. at 916) (internal quotation marks omitted). Here,
      Plaintiffs have shown racial awareness—to be sure. But identifying
      awareness is not the end of the inquiry.

             To prove racial predominance, a “plaintiff must prove that the
      legislature subordinated traditional race-neutral districting principles . . . to
      racial considerations.” Miller, 515 U.S. at 916. The relevant “traditional race-
      neutral districting principles,” which the Court has listed many times,
      include “compactness, contiguity, respect for political subdivisions or
      communities defined by actual shared interests,” incumbency protection,
      and political affiliation. Miller, 515 U.S. at 901; Bush v. Vera, 517 U.S. 952,
      964, 968 (1996). A plaintiff’s burden in a racial gerrymandering case is “to
      show, either through circumstantial evidence of a district’s shape and




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      demographics or more direct evidence going to legislative purpose, that
      race was the predominant factor motivating the legislature’s decision.”
      Miller, 515 U.S. at 916. Plaintiffs have failed to show racial predominance
      through either direct or circumstantial evidence or any combination
      thereof.
         A. Circumstantial Evidence




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             Like the plaintiffs in Cromartie I, Plaintiffs here seek to prove their
      racial gerrymandering claim through circumstantial evidence—e.g., maps
      showing the district’s size, shape, an alleged lack of continuity, and
      statistical and demographic evidence. See 526 U.S. at 541–43. In their post-
      trial memorandum, Plaintiffs maintain that the “bizarre shape of District 6
      reveals racial predominance.” ECF 190 at 15. In opposition, the State raises
      its “political motivation” defense by alleging that: (1) “the Governor and the
      Legislature made a political judgment to reclaim the State’s sovereign right
      to draw congressional maps rather than cede that responsibility to the
      federal courts” and (2) “the contours of the S.B. 8 map were themselves
      motivated by serious political calculations.” State’s Post Trial Memo at 5–6.
      Because “political and racial reasons are capable of yielding similar oddities
      in a district’s boundaries,” the Court in Cooper entrusted trial courts with “a
      formidable task: [to] make ‘a sensitive inquiry’ into all ‘circumstantial and
      direct evidence of intent’ to assess whether the plaintiffs have managed to
      disentangle race from politics and prove that the former drove a district’s
      lines.” Cooper, 581 U.S. at 308 (quoting Cromartie I, 526 U.S. at 546). Here,
      the trial record underscores that Plaintiffs have made no effort to
      disentangle race consciousness from the political factors motivating District
      6’s precise lines. Therefore, the panel majority cannot undertake the
      “sensitive inquiry” required. Because Plaintiffs have fallen short, the panel
      majority takes a myopic view of the record and pieces together slithers of
      circumstantial evidence without comprehensively analyzing all pieces of
      evidence to the contrary to craft a “story of racial gerrymandering.” See
      Majority Op. at 39 (citing Miller, 515 U.S. at 917).




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             First, I begin by explaining how the panel majority’s narrow
      perspective incorporates no evidence that District 6’s lines were drawn
      solely based on race. Second, I address how Plaintiffs’ inconsistent
      demographic testimony is deficiently limited in scope to support the
      conclusion that race predominated. Third, I discuss how Plaintiffs’ similarly
      impaired simulation data fails to meet the demanding burden as required
      by binding precedent.
             i. The Shape of District 6
             A point of agreement amongst the panel in this case is that “[a]
      district’s shape can provide circumstantial evidence of a racial
      gerrymander.” Majority Op. 35. However, we diverge based on how we
      apply this significant point, as the panel majority confuses evidence that the
      Legislature sought to create a second majority-Black district with evidence
      that race was the “dominant and controlling” factor in the drawing of S.B.
      8’s contours.




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              The Supreme Court has acknowledged that notwithstanding the fact
      that circumstantial evidence—like a district’s unusual shape—can give rise
      to an inference of an “impermissible racial motive,” such a bizarre shape
      “can arise from a ‘political motivation’ as well as a racial one.” Cooper, 581
      U.S. at 308; Cromartie I, 526 U.S. at 547 n.3. 7 As such, the inquiry does not
      stop at a rudimentary examination of the district’s lines in some precincts.
      In Cooper, the Court further clarified this point by articulating that “such
      evidence [of a ‘highly irregular’ shape] loses much of its value when the
      State asserts partisanship as a defense, because a bizarre shape” may be
      attributed best to political or personal considerations for a legislator instead
      of racial considerations. See 581 U.S. at 308. The panel majority’s and
      Plaintiffs’ inability to coherently parse these considerations is particularly
      striking as there have been several instances in Louisiana “where legislators
      wanted a precinct in their district because their grandmother lived there.”
      See, e.g., Trial Tr. 177 (testimony of Dr. Voss). Nonetheless, the panel
      majority ignores this crucial step of the circumstantial evidence analysis,
      eliding to other “mixed motive” cases. Majority Op. 38.




              7
               See also Shaw v. Hunt, 517 U.S. 899, 905 (1996) (“Shaw II”) (acknowledging that
      “serpentine district” was “highly irregular and geographically non-compact by any
      objective standard”); Miller v. Johnson, 515 U.S. 900, 913 (1995) (“Shape is relevant . . .
      because it may be persuasive circumstantial evidence that race for its own sake, and not
      other districting principles, was the legislature’s dominant and controlling rationale in
      drawing its district lines.”).




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             However, a closer comparison between the instant case and those
      prior “mixed motive” cases reveals how inapt these comparisons are. In
      Shaw I, the Court stated that in “exceptional cases,” a congressional district
      may be drawn in a “highly irregular” manner such that it facially cannot be
      “understood as anything other than an effort to segregate voters on the
      basis of race.” Shaw I, 509 U.S. at 646–47 (internal citation and quotation
      marks omitted); see also Richard H. Pildes, Richard Niemi, Expressive Harms,
      “Bizarre Districts,” and Voting Rights: Evaluating Election-District
      Appearances After Shaw v. Reno, 92 Mich. L. Rev. 483 (1993). Since that
      utterance in Shaw I, the Court has never struck down a map based on its
      shape alone. Nonetheless, the panel majority functionally does so here on
      the basis of severely cabined analyses of select precincts in the
      metropolitan areas within the district. See Plaintiffs’ Br. 9–10; Majority Op.
      38.




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             The panel majority cites to Vera as a basis for its conclusion that the
      circumstantial evidence in this case is sufficient to show racial
      predominance. A closer look at that case demonstrates how inapt that
      comparison is. In Vera, the Court considered a challenge to three districts in
      Texas’s reapportionment plan following the 1990 census. 517 U.S. at 956.
      There, as here, the Texas Legislature admitted that it intentionally sought
      to draw three districts “for the purpose of enhancing the opportunity of
      minority voters to elect minority representatives to Congress.” See Vera v.
      Richards, 861 F. Supp. 1304, 1337 (S.D. Tex. 1994). However, the record
      there was replete with specific, direct evidence that several members of the
      Texas Legislature were moving around Black neighborhoods and precincts
      into the new Congressional districts that they then hoped to run for. Id. at
      1338–40. The Court noted that the Texas Legislature used a computer
      program called “REDAPPL” to aid in drawing district lines. 517 U.S. at 961.
      The software incorporated racial composition statistics for the proposed
      districts as they were drawn on a “block-by-block” level. Id. (noting that the
      “availability and use of block-by-block racial data was unprecedented”).
      With all of this in mind, the Court then rejected the state’s incumbency
      protection defense because the district court’s “findings amply
      demonstrate[d] that such influences were overwhelmed in the
      determination of the districts’ bizarre shaped by the State’s efforts to
      maximize racial divisions.” 517 U.S. at 975.
             None of that is present in this case. This is not a case like Vera, where
      the political motives of self-interested electoral hopefuls directly attributed
      to the precise placement of the electoral map lines that comprised those
      racially gerrymandered districts. There is no § 5 preclearance letter in which
      the state legislature, speaking with one voice, explains that the odd shapes
      in the map result solely from “the maximization of minority voting




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      strength.” See id. The panel majority is correct in noting that this is a mixed
      motive case. But to note this and then to subsequently make a conclusory
      determination as to racial predominance is hard to comprehend.
      Particularly so where broad swaths of the record are not addressed. In fact,
      a quick comparison of District 6 (depicted in lime green below) to the “highly
      irregular” districts from Vera (depicted in black outlines) underscores how
      the district’s shape alone is insufficient evidence to prove racial
      predominance. 8 Simply put, one of these is not like the others.




              8
               While the following images are not at a 1:1 scale, the striking visible differences
      between District 6 in S.B. 8 and the districts in Vera—which more clearly evince an intent
      to carve up communities and neighborhoods under the guise of invidious racial
      segregation—show how just examining a few portions of the district is insufficient to
      parse out whether race predominated. See 861 F. Supp. at 1336 (noting the borders
      “change from block to block, from one side of the street to the other, and traverse streets,
      bodies of water, and commercially developed areas in seemingly arbitrary fashion”).




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             District 6’s shape is not meaningfully comparable to the series of
      substantially thinner, sprawling, salamander-like districts that have been
      deemed impermissible racial gerrymanders. In spite of these glaring
      differences, the panel majority erroneously concludes that a racial
      gerrymander occurred here in spite of several inconsistencies in Plaintiffs’
      expert testimony and a limited review of the legislative and trial records.
      See Cromartie II, 532 U.S. at 242–43. It ignores the Court’s explicit
      determinations that evidence of race-consciousness considered in
      conjunction with other redistricting principles “says little or nothing about
      whether race played a predominant role” in the reapportionment process.
      Id. at 253–54 (emphasis in original); Miller, 515 U.S. at 916 (legislatures “will
      . . . almost always be aware of racial demographics” in the reapportionment
      process); Shaw I, 509 U.S. at 646 (holding same). It also ignores the well-
      established principles that “[p]olitics and political considerations are
      inseparable from districting and apportionment . . . [and] that districting
      inevitably has and is intended to have substantial political consequences.”
      Gaffney v. Cummings, 412 U.S. 735, 753 (1973); see also Vieth v. Jubelirer,
      541 U.S. 267, 285 (2004) (plurality opinion) (acknowledging that districting
      is “root-and-branch a matter of politics”); Trial Tr. 80 (testimony of Sen.
      Pressly) (admitting that adjudging political considerations of competing
      prospective legislative actions are “root and branch”). Where there is a
      “partisanship” or “political motivation” defense, more is required.




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             The panel majority errs in its analysis of the metropolitan areas in
      District 6 because it relies solely on the fact that the Legislature created a
      second majority-Black district 9 to show racial predominance. In Shaw I, the
      Court declined to adopt the view that the panel majority offers here—that
      evidence of “the intentional creation of majority-minority districts, without
      more, always gives rise to an equal protection claim.” 509 U.S. at 649
      (cleaned up). Compare id. (expressing no view as to whether this action
      constitutes a de facto equal protection violation), with id. at 664 (White, J.,
      dissenting) (“[T]hat should not detract attention from the rejection by a
      majority [of the Court] of the claim that the State’s intentional creation of
      majority-minority districts transgressed constitutional norms.”); see also
      United Jewish Orgs. of Williamsburgh, Inc. v. Carey (“UJO”), 430 U.S. 144,
      165 (1977) (“It is true that New York deliberately increased the nonwhite
      majorities in certain districts in order to enhance the opportunity for
      election of nonwhite representatives from those districts. Nevertheless,
      there was no” equal protection violation); cf. Vera, 517 U.S. at 959 (“We
      thus differ from Justice Thomas, who would apparently hold that it suffices
      that racial considerations be a motivation for the drawing of a majority-
      minority district” for strict scrutiny to apply) (emphasis in original). In
      Bethune-Hill v. Virginia State Board of Elections, the Court explained that
      “[e]ven where a challenger alleges a conflict [with traditional redistricting
      principles], or succeeds in showing one, the court should not confine” its
      racial predominance “inquiry to the conflicting portions of the lines.” 580
      U.S. 178, 191 (2017).




             9
                 Vera, 517 U.S. at 958.




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             Here, the panel majority makes the mistake of stopping at the
      district’s contours in the major metropolitan areas in the state without fully
      considering or crediting the abundance of evidence demonstrating these
      choices were political. See Majority Op. 40 (“In sum, the ‘heat maps’ and
      demographic data in evidence tell the true story–that race was the
      predominate factor driving decisions made by the State in drawing the
      contours of District” Six). Because the panel majority’s plain eye
      examination loses much of its value in the face of the state’s “political
      motivation” defense, I now will contextualize the relevant circumstantial
      evidence of legislative intent in this case, including claims of political
      motivation.
             ii. Expert Testimony




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             Plaintiffs’ circumstantial evidence elicited through expert testimony
      fails to demonstrate that race was the Legislature’s controlling motive in
      drawing S.B. 8. The panel majority makes much ado of Mr. Michael Hefner’s
      dot density map 10 and testimony that the districting decisions shaping
      District 6 in Lafayette, Alexandria, Baton Rouge, and Shreveport could only
      be explained by racial considerations. While the Court has accepted
      evidence of a district’s shape and demographics to prove racial
      predominance, it has required the plaintiff to disentangle race from political
      considerations. See Cromartie I, 526 U.S. at 546. Here, Plaintiffs’ expert
      testimony fails to account for several valid, non-racial considerations that
      explain the district’s shape to impermissibly conclude that race
      predominated. Cf. Chen v. City of Houston, 206 F.3d 502, 506 (5th Cir. 2000)
      (“[T]he plaintiffs’ burden in establishing racial predominance is a heavy
      one.”).
             Plaintiffs point to the district’s low compactness scores and
      testimony from two experts opining that the Legislature subordinated
      traditional redistricting criteria to prove their case via circumstantial
      evidence. Plaintiffs’ Br. 8–12. Notwithstanding my own evidentiary
      determination that several traditional principles of redistricting do explain
      District 6’s shape in S.B. 8, 11 I now explain that Plaintiffs’ offered
      circumstantial evidence is insufficient to prove the predominance of race.
      See Chen, 206 F.3d at 506.
                    a. Demographic Evidence




             10
                  Majority Op. 38–39.
             11
                  See infra Part I.B.i–ii.




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              The legislative record in this case is inundated with both direct and
      circumstantial evidence that political considerations predominated in the
      drafting and passing of S.B. 8. 12 Plaintiffs assert that their demographer, Mr.
      Hefner, provided testimony that the “awkward and bizarre shape” of the
      district suggests that race predominated over traditional redistricting
      criteria. Trial Tr. 304–05. He testified that the district was “very elongated,”
      “contorted,” and narrow at points to attach two centers of high BVAP
      together in one district. Trial Tr. 286. However, Mr. Hefner also
      acknowledged that incumbency and compliance with the VRA are also
      important traditional redistricting criteria. 13 Trial Tr. 293. He also explained
      that political dynamics frequently factor into redistricting. Trial Tr. 321.
      Ultimately, he concluded that the Louisiana Legislature “can’t create a
      second majority-minority district and still adhere to traditional redistricting
      criteria” and that “race predominated in the drafting” of S.B. 8. Trial Tr. 271–
      72. Put another way, no permissible redistricting factor could explain S.B.
      8’s configuration.




              12
                   See id.
              13
                 Q. Are there additional criteria that can be considered?
               A. Yes. Incumbency can be considered as to not putting incumbents against each
      other. Preservation of political entities. It’s similar to communities of interest but some
      specified as political entries, which would be parishes, precincts, municipalities, those
      that have political boundaries. Also, too, race plays a factor as well, because that’s part of
      what the Voting Rights Act calls attention to for consideration. So those are some of the
      other criteria that we generally take a look at as we’re drafting redistricting plans.
      Trial Tr. 293 (emphasis added).




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             But there are several logical gaps in Mr. Hefner’s testimony. Mr.
      Hefner limited his examination of S.B. 8 to the factors of communities of
      interest, compactness, and preservation of core districts. Thus, he “did not
      review incumbency.” Trial Tr. 272. When asked about the importance of
      incumbency on redistricting, he opined that a legislature should avoid
      pitting incumbents against each other to prevent very contentious and
      unproductive political bodies that fail to “serve the needs of the people.”
      Trial Tr. 335. Mr. Hefner’s failure to consider the other politically motived
      incumbency protection rationales provided by S.B. 8’s sponsor 14
      demonstrates the unreliability of his testimony. He further constrained his
      analysis to S.B. 8, H.B. 1, and Plaintiffs’ Illustrative Plan 1. He did not review
      any “of the other plans with two majority black districts” proposed in the
      2024 redistricting session, nor did he review “any of the amendments that
      were offered on [S.B. 8] in the 2024 redistricting session.” Trial Tr. 317–18.




             14
                  See supra Part II.B.i.a.




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             The gaps in Mr. Hefner’s analysis severely undercut his opinion that
      race predominated over respecting communities of interests and political
      subdivisions. It strains credulity to say that one factor was controlling over
      all others while simultaneously ignoring several overriding factors. While
      Mr. Hefner criticized S.B. 8 for the number of parish and community splits
      it contained, he did not criticize the other maps he examined for that
      purpose. For instance, his opinion that race predominated in the drafting of
      S.B. 8 was based in part on the amount of parish splits and divisions of
      cultural subdivisions tracked by the Louisiana Folklife Program as compared
      to prior maps. Trial Tr. 337. However, on cross-examination, Mr. Hefner
      conceded that a district in H.B. 1 split the same number of folklife areas as
      District 6 in S.B. 8. Trial Tr. 337–38. Additionally, Intervenors’ expert, Mr.
      Fairfax, provided credible testimony that showed that S.B. 8 distributed its
      parish and municipal splits amongst the districts more equitably in
      comparison to H.B. 1. Trial Tr. 385–89. Mr. Hefner did not account for such
      distinguishing factors, which tended to challenge his broad conclusion that
      two majority-minority districts could not be drawn in Louisiana while
      adhering to traditional redistricting principles.




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              Further inconsistencies persisted in his testimony. Mr. Hefner did not
      offer the same critiques of the shapes of districts in Plaintiffs’ Illustrative
      Plan 1. In fact, he opined that that map “adhered to traditional redistricting
      principles.” 15 Notwithstanding this point, Mr. Hefner agreed that District 5
      of Illustrative Plan 1 spanned approximately 230 miles from end to end. 16
      By Mr. Hefner’s own calculus, District 5 of the plan is a district that is
      virtually not compact at all. District 6 of S.B. 8 ranges nearly the same length,
      but he did not agree that S.B. 8 “adhered to traditional redistricting
      principles.” These shifting goalposts based upon whether Plaintiffs or the
      Intervenors posited the question further demonstrates that little to no
      weight can be placed on his testimony. Thus, the obvious tension between
      his opinions based on which party it benefits substantially diminishes its
      weight here, but the panel majority erroneously accepts portions of his
      testimony to justify its conclusion. It does so even though none of Mr.
      Hefner’s testimony attempts to unpack the entanglement of the two factors
      of race and politics plainly present in this case.




              15
                  Q. Let me just ask it this way. What does Plaintiffs’ Illustrative Plan Number 1,
      Exhibit PE-14, what does that represent?
               A. That plan is a congressional plan that preserves District 2 as a traditional
      majority-minority district. It generally follows what has been in place for the past couple
      of census cycles. And the division of the rest of the state into districts largely follows. It’s
      somewhat similar to the traditional boundaries that have been used in the past. Some
      deviations, but generally overall it follows that general configuration.
               Q. Based on your review of this map, does it adhere to traditional redistricting
      principles?
               A. In my opinion it does.
      Trial Tr. 275–76.
               16
                  The Plan’s District Five contained a district spanning roughly 230 miles from
      Washington Parish in the Southeastern tip of the state all the way up to the Northern
      portion of the state, with Ouachita Parish serving as a main population center. See Trial
      Tr. 341.




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              Mr. Hefner testified that he did not speak to any legislators from the
      2024 session or consult any sources within the Legislature informing him of
      the legislative imperatives underlying S.B. 8. See Trial Tr. 321 (“Q. And do
      you have any other basis for knowing what any particular legislator thought
      about the district lines in [S.B. 8] or why they supported them? A. I did see
      some [television] interviews of some legislators after [S.B. 8] was
      approved.”). Thus, his ultimate conclusion that race predominated over any
      permissible factor is factually unsupported because he failed to examine
      several traditionally accepted factors of redistricting. Most glaring is his
      failure to examine, analyze, or otherwise critique S.B. 8’s incumbency
      protection considerations or the Legislature’s rejection of amendments that
      solely sought to increase BVAP within the district and added additional
      parish splits. RI 42; Trial Tr. 573–74 (describing how the legislature struck
      down an amendment “increased the BVAP in both District 2 and District 6”
      in a bipartisan vote because it added additional parish splits to the map);
      Trial Tr. 575 (noting the Legislature’s bipartisan rejection of efforts to just
      “mov[e] black precincts around for no particular reason other than to do
      so”).




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              The legislative history of S.B. 8 demonstrates that the Legislature
      took great consideration to avoid merely lumping enough Black Voting Age
      Population (“BVAP”) into two districts to satisfy the Robinson I court. Mr.
      Hefner’s failure to account for the history of amendments to S.B. 8
      demonstrates how his narrative of racial predominance in the Legislature
      disintegrates upon review of the record. The Legislature rejected
      amendments that solely sought to increase BVAP in specific districts and
      were voted down and discouraged by the bill’s proponents and author. See
      Trial Tr. 317–18. As the legislative record shows, Senator Heather Cloud of
      Avoyelles Parish introduced an amendment that introduced an additional
      split in District 6, increasing the number of parish splits in S.B. 8 to sixteen,
      one more split than H.B. 1. Although Mr. Hefner criticizes the number of
      parish splits in S.B. 8 to serve as evidence that the Legislature racially
      gerrymandered here, he admittedly did not know that Senator Cloud’s
      amendment was offered to further protect Congresswoman Letlow’s seat
      by moving her own constituents into Letlow’s district. JE 29 at 5–6. This
      extra parish split also narrows District 6 before it traverses through
      Alexandria. It also explains why the district is narrower at that point and—
      in Mr. Hefner’s view—bears tenuous contiguity. 17 See Trial Tr. 293–94.



              17
                  On a related note, the legislative record also established that Rapides Parish is
      accustomed to split representation in a single-member district capacity. Senator Luneau
      of Rapides Parish noted that in the reapportionment process for State Senate districts, his
      home parish answered to “six different [state] senators.” JE 34 at 9–10. Prior
      jurisprudence demonstrates that further segmentation of parishes accustomed to
      splitting to achieve partisan goals. In Theriot v. Parish of Jefferson, the Fifth Circuit held
      that no racial gerrymander occurred where “the Parish was not unaccustomed to splitting
      districts in order to achieve political goals.” 185 F.3d 477, 483 (5th Cir. 1999). Thus, the
      contours of the Rapides Parish area in S.B. 8 cannot seriously be considered to be the
      product of racial gerrymandering—as Plaintiffs allege—without more evidence than mere
      conjecture.




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             Senator Cloud described her amendment at the Senate and
      Governmental Affairs Committee hearing as an amendment seeking to
      protect the only Republican Congresswoman in Louisiana’s Congressional
      Delegation. JE 29 at 13–14. Senator Cloud’s amendment was the only one
      made during the legislative process that withstood detailed examination by
      both houses of the Louisiana Legislature. RE 42; JE 29 at 5–6. The only other
      amendment that passed in committee was offered by Representative Les
      Farnum of Calcasieu Parish. Trial Tr. 571–72. Representative Farnum
      introduced an amendment before the House and Governmental Affairs
      Committee that sought to make his constituents in Calcasieu Parish in one
      whole district. Trial Tr. 572. While the amendment advanced out of
      committee, it was removed from the bill after substantial bipartisan
      opposition prompted a floor vote to strip the amendment from S.B. 8. Trial
      Tr. 573–74. Particularly revealing is that S.B. 8’s legislative history
      demonstrates how the Legislature actively sought to prevent the gross
      contravention of traditional redistricting principles in favor of just getting
      specific districts to certain BVAP concentrations. See id. (detailing the
      Legislature’s denial of amendment to subdivide Baton Rouge into three
      congressional districts in favor of increasing BVAP in District 2 by some
      amount).




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             The history of amendments to the bill do not fit the creative narrative
      that Mr. Hefner paints in this case to show racial predominance. In the light
      of all this information publicly available in the legislative record, Mr. Hefner
      cabined his analysis to just the final enacted version of S.B. 8 and two other
      maps, without seeking to get the full scope of the legislative environment
      that created S.B. 8. Notably, the Court said in Cooper that where political
      concerns are raised in defense of a map, evidence of non-compactness
      “loses much of its value . . . because a bizarre shape . . . can arise from a
      ‘political motivation’ as well as a racial one.” 581 U.S. at 308. Furthermore,
      “political and racial reasons are capable of yielding similar oddities in a
      district’s boundaries.” Id. Here, Senator Glen Womack of Catahoula Parish,
      the author of S.B. 8, addressed those reasons at numerous points during the
      legislative session. His intent was clear and consistent. JE 31 at 121–22
      (statement of Sen. Womack) (“We were ordered to draw a [second
      majority-Black] district, and that’s what I’ve done. At the same time, I tried
      to protect Speaker Johnson, Minority Leader Scalise, and my representative
      Congresswoman Letlow.”). He stated that he sought to draw “boundaries in
      th[e] bill” to “ensure that Congresswoman Letlow remains both unimpaired
      with any other incumbents and in a congressional district that should
      continue to elect a Republican to Congress for the remainder of this
      decade.” JE 29 at 2 (Sen. Womack’s Remarks Before January 16, 2024
      Senate Governmental Affairs Committee Hearing). Based on this strong
      evidence of legislative will directed at preserving political and personal
      interests during the redistricting process, I would hold that Plaintiffs’
      circumstantial demographic evidence cannot be taken in whole or in part to
      satisfy its burden of showing that race predominated in the drafting of S.B.
      8.
                b. Simulation Evidence




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             Neither does Plaintiffs’ simulation evidence move the needle for
      them toward satisfying their stringent burden of proof.. The panel majority
      likewise credits the marginally relevant testimony of Plaintiffs’ other expert,
      Dr. Stephen Voss. Dr. Voss opined that simulation techniques demonstrate
      that (1) S.B. 8 constitutes an impermissible racial gerrymander because no
      other legislative imperatives would create districts in those forms; (2) the
      Louisiana Legislature “compromised” various “traditional redistricting
      criteria” in drawing S.B. 8, and; (3) there “is not a sufficiently large and
      compact African American population to allow [two majority-Black] districts
      that would conform to traditional redistricting criteria.” Trial Tr. 91.
             When posed with the question of S.B. 8’s political goals, Dr. Voss
      opined that “[i]f you’re not trying to draw a second Black majority district,
      it is very easy to protect Representative Julia Letlow.” Trial Tr. 108. This
      commentary misses the mark entirely. Neither through simulations nor
      testimony, Dr. Voss did not demonstrate that it is possible to achieve all of
      S.B. 8’s main political goals and generate extremely compact districts. On
      cross-examination, he admitted that he did not “explore” directing the
      software to prevent “double bunking” or pairing of two specific incumbents.
      See Trial Tr. 175 (cross–examination of Dr. Voss).




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             As such, Dr. Voss’s conclusion that only racial considerations account
      for District 6’s shape flies in the face of his testimony that permissible
      considerations include regional representation, incumbency protection,
      and various other personally politicized considerations held by legislators in
      redistricting. Compare Trial Tr. 177–78 (admitting that the Legislature’s
      rationales given ordinarily constitute valid reasons justifying a map’s shape),
      with Trial Tr. 180 (attempting to distinguish those factors’ application in this
      case). At most, Dr. Voss only measured or weighed two political motives at
      the same time: (1) “sacrificing” Congressman Graves and (2) protecting
      Congresswoman Letlow. Trial Tr. 110 (stating that the Legislature could
      have complied with these two specific goals and presented a map that is
      less offensive to traditional redistricting principles); Trial Tr. 111–12 (stating
      same). With the aid of his simulations, he argued that it would be easy to
      protect Congresswoman Letlow by pulling her westward into a North
      Louisiana district even if a second majority-Black district stretched up the
      Mississippi River into Northeast Louisiana. But pulling her district westward
      draws her closer to the population bases supporting Speaker Johnson’s
      prominence in his district Northwest Louisiana based district.




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             Dr. Voss neglected to address protecting the Speaker of the House
      and Majority Leader at the same time as protecting Congresswoman Letlow
      and cutting out Congressman Graves. See id. On direct, Dr. Voss stated that
      out of his 20,000 simulations, he did have difficulty with securing
      Congresswoman Letlow and Speaker Johnson without risking Majority
      Leader Scalise’s seat. Trial Tr. 140. Then on cross examination, Dr. Voss
      conceded that his simulations could not consistently guarantee safe seats
      for Speaker Johnson, Majority Leader Scalise, and Congresswoman Letlow.
      Trial Tr. 140 (conceding that many simulations jeopardized Scalise’s seat
      and others pitted the Speaker against Letlow). Attempting to rationalize
      why he could not account for these valid considerations, Dr. Voss testified
      on redirect that some unknown number of simulations generated plans
      without two majority-Black districts that also achieved these political goals.
             This testimony, while sensible in the abstract, is nonsensical when
      applied to the appropriate legislative and constitutional context. Article III,
      § 6 of the Louisiana Constitution specifies that “the legislature shall
      reapportion the representation in each house as equally as practicable on
      the basis of population shown by the census.” It is indelibly clear—
      seemingly to everyone except Plaintiffs’ experts—that redistricting is a
      “root-and-branch” political matter. See Vieth, 541 U.S. at 285; Shaw, 509
      U.S. at 662 (White, J., dissenting) (“[D]istricting inevitably is the expression
      of interest group politics.”). We are tasked with evaluating legislation that
      is the product of the legislative body’s choice resulting from a political
      process. For this reason, failing to evaluate a politically charged defense that
      frequently yields oddly shaped districts for personal and political goals of
      the legislators involved cannot be adequate proof that meets the
      demanding standard required of Plaintiffs.




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             Numerous current and former elected officials from both major
      political parties testified that the legislative aims raised in the 2024 session
      were (1) satisfying the VRA, (2) protecting senior incumbents with
      influential national positions, and (3) maintaining the sovereign prerogative
      of the legislature. See, e.g., JE 31 (Rep. Carlson) (“I can assure you this . . .
      we’re not here today because we’re caving to any kind of political pressure.
      The fact of the matter is, like it or not, Judge Dick has said, ‘Either you do
      your job and draw the map, or I’ll draw the map for you,’ period.”); Trial Tr.
      47–48 (“[T]he only reason we were there was because of the other
      litigation; and Judge Dick saying that she –– if we didn’t” comply with the
      VRA “she was going to” draw the State’s map for them); Trial Tr. 81–82
      (testimony of Sen. Pressly) (stating that Judge Dick would draw the maps if
      the Legislature did not, and would not consider political benefits to any
      party or persons); Trial Tr. 368. In my view, Intervenor’s expert, Dr. Cory
      McCartan, credibly demonstrated how the limitations of Dr. Voss’s
      purported race-conscious simulations actually failed to account for race in
      any meaningful manner. Trial Tr. 196–97. Dr. McCartan noted the
      substantial difference between stating that “a simulation that uses a tiny bit
      of racial information doesn’t produce black districts, and the extrapolating
      from there to say that if you produce two black districts, it must be extreme
      racial gerrymandering.” Trial Tr. 196–97. The panel majority avoids this
      potent adverse testimony by distinguishing Dr. McCartan’s work with his
      ALARM team from the present case. Majority Op. 26–28.




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              The panel majority’s brief discussion of the limitations on Dr. Voss’s
      simulation evidence is in tension with the nature of the pivotal inquiry that
      this panel was convened to undertake: To evaluate whether the
      Legislature— and not a rebuttal witness’s own team—had subjugated all
      traditional redistricting principles to yield a certain result—i.e., the
      challenged district. Dr. McCartan’s testimony credibly shows that
      simulations cannot prove the “impossibility” that Dr. Voss sought to
      prove, 18 and that Dr. Voss’s simulation methods added additional restraints
      that in turn stopped generating results which would more closely resemble
      the factors that the Legislature actually considered in this case. Trial Tr. 196.




              18
                Dr. Voss even acknowledged this, stating that in Louisiana “the number of plans
      that meet all [traditional redistricting principles] is probably bigger than the number of
      atoms in the entire universe.” Trial Tr. 200–201; see also Trial Tr. 130.




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              Setting aside the panel majority’s attempts to justify the relevance
      of Dr. Voss’s simulations, 19 the simulation evidence in this case is precisely
      the type of inconclusive evidence that insufficiently pits S.B. 8 in “endless
      beauty contests” with other potential maps the Legislature could have
      drawn but never would have realistically considered for a myriad of reasons
      other than race. See Vera, 517 U.S. at 977. Absent from the panel majority’s
      analysis of Dr. Voss’s simulation testimony was his admission that “the
      population tolerances required from real maps without splitting precincts,”
      as required by Joint Rule 21, 20 “may not be achievable with a simulation
      method” and likely does not yield “feasible maps” in “many cases.” Trial Tr.
      152–53. This admission again demonstrates how this evidence fails to
      encapsulate the pressing factors that the Legislature actually considered. In
      sum, this evidence does not satisfy Plaintiffs’ burden.




              19
                 Trial Tr. 179 (redirect examination of Dr. Voss); Majority Op. at 28.
              20
                 The Louisiana Legislature passed Joint Rule 21 in 2021 to establish criteria that
      would “promote the development of constitutionally and legally acceptable redistricting
      plans.” Joint Rule 21 (2021), https://www.legis.la.gov/legis/Law.aspx?d=1238755.




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              Through Voss’s and Hefner’s testimony, Plaintiffs present a simple
      syllogism. (A) An unconstitutional racial gerrymander occurs where
      traditional redistricting criteria and other permissible factors cannot
      account for the shape of the offending district. (B) District 6’s shape in S.B.
      8 cannot be explained by any permissible reapportionment factors. (C)
      Thus, S.B. 8 constitutes an unconstitutional racial gerrymander. The glaring
      gap in the expert testimony results from the fact that both Voss and Hefner
      did not account for numerous valid justifications for District 6’s shape. Thus,
      it is disingenuous to conclude that no permissible factors—such as
      protecting incumbents, 21 eliminating the Governor’s political opponents, 22
      connected ethno-religious networks, 23 the linkage of the District’s
      communities via the I-49 corridor and Red River Basin, 24 veritable cultural
      similarities, 25 and shared educational and health resources amongst
      residents of District 6, 26 among others—justify or explain District 6’s shape.




              21
                 Q. And so you mentioned the difference in configuration between your Bill S.B.
      4 and S.B. 8. Did you have any impression about any rationale behind those different
      configurations?
               A. So during the whole time I spent in redistricting, you don’t have to be a
      redistricting expert to know that any time a new map is drawn, it’s kind of like playing
      musical chairs. There is going to be someone who is negatively impacted from an
      incumbency standpoint. And of the six congressional districts, the question was always if
      there was going to be a second majority black district drawn, who would be negative --
      who would be most negatively impacted by this if we are -- again, we have --a new map
      has to be drawn. So I believe that ultimately played into what map the Legislature chose
      to support.
      Trial Tr. 525–26; see also Trial Tr. 71 (testimony of Sen. Pressly) (“There were certainly
      discussions on ensuring –– you know, we’ve got leadership in Washington. You have the
      Speaker of the House that’s from the Fourth Congressional District and we certainly
      wanted to protect Speaker Johnson. The Majority Leader, we wanted to make sure that
      we protected, Steve Scalise. Julia Letlow is on Appropriations. That was also very
      important that we tried to keep her seat as well.”); Trial Tr. 79 (testimony of Sen. Pressly);
      Trial Tr. 63 (testimony of Sen. Seabaugh) (stating same).




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              22
                  See, e.g., Trial Tr. 527 (testimony of Sen. Duplessis) (“[A]s [redistricting] relates
      to incumbency, there will be someone who is negatively impacted, so the choice had to
      be made –– the political decision was made to protect certain members of congress and
      to not protect one member of congress and it was clear that that member was going to
      be Congressman Garret Graves.”); Trial Tr. 369–71 (testimony of Rep. Landry) (stating
      same); Trial Tr. 60–61 (testimony of Sen. Seabaugh) (agreeing that “protecting” Speaker
      Johnson, Majority Leader Scalise, and Congresswoman Letlow “is an important [political]
      consideration when drawing a congressional map”).
               Q. Let me ask that again. Do you have an understanding if one of the current
      congressional incumbents was drawn out of his or her seat, so to speak, in Senate Bill 8?
      A. Congressman Graves was targeted in the map, correct. Q. And were you surprised that
      Congressman Graves was targeted in the map? A. No. Everyone -- everyone knew that. All
      the legislators, the media reported it. They have had a long-standing contentious
      relationship. Q. And when you say "they," who are you referring to? A. The Governor and
      Congressman Graves.
      Trial Tr. 369–71 (testimony of Rep. Landry).
               23
                  Trial Tr. 466–67 (testimony of Pastor Harris).
               24
                  Q. So in your experience as an elected official and a community leader, does
      Congressional District 6 in S.B. 8 reflect common communities of interest?
               A. Yes, it does.
               Q. And how so?
               A. Well, I think the two that come most quickly to mind would be the I-49 corridor
      and the Red River. Obviously, Shreveport itself was founded by the clearing of the Red
      River. One of the big things that helped make this area grow was navigation thereof. We
      had leadership over the course of the last 50 years that's worked very hard towards trying
      to bring that back. You now have a series of lock and dams, five of them, between here
      and where the river flows into the Mississippi. That essentially mirrors the eastern side of
      that district. When you add to it, the connecting factor of I-49, that essentially makes
      Shreveport, Mansfield, Natchitoches, all one general commuting area, all of those are
      connecting factors.
      Trial Tr. 457–58 (testimony of former Mayor Glover) (emphasis added).
               25
                  See, e.g., Trial Tr. 467–68 (testimony of Pastor Harris) (explaining that Baton
      Rouge, Alexandria, Lafayette, Natchitoches, and Shreveport share far more cultural
      commonalities than any of those cities and New Orleans).
               26
                  See, e.g., Trial Tr. 457–58 (testimony of Mayor Glover) (explaining that the
      shared Willis-Knighton, Ochsner/LSUS, and Christus medical systems within District 6
      provide the bulwark of medical care to the persons of the region).




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              Plaintiffs’ position ignores that the record as a whole establishes that
      incumbency protection was the most often stated motivating factor 27
      behind S.B. 8. Instead, they adhere closely to a minority of voices within the
      Louisiana Legislature. 28 Respectfully, I strongly disagree with the panel
      majority’s narrow reading of the conflicting demographic and statistical
      opinions offered to fashion its conclusion that race was “the legislature’s
      dominant and controlling rationale in drawing its district lines.” See Miller,
      515 U.S. at 913.
              iii. Any Allegory to Hays or Application of its Outdated Rationales is
              Misguided




              27
                  As evidenced by the fact that all other, more compact maps from the 2024
      legislative session that also sought to comply with the VRA died in committee. See, e.g.,
      Trial Tr. 482 (testimony of Ms. Thomas).
               28
                  Trial Tr. 533 (testimony of Sen. Duplessis) (“I think some of the members of
      the Shreveport delegation may have voted against [S.B. 8], but it passed
      overwhelmingly.”).




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              Similarly difficult to comprehend is the panel majority’s position that
      Hays provides this court with a helpful allegory to make its determination.
      In Hays I and Hays II, the district court invalidated congressional maps with
      two majority-minority districts as impermissible racial gerrymanders on
      Equal Protection grounds. See Hays I, 839 F. Supp. at 1195; see also Hays v.
      Louisiana, 936 F. Supp. 360, 368 (W.D. La. 1996) (Hays IV). In Hays I, the
      district court was confronted with an equal protection challenge to a district
      bearing similarities to District 6. The panel described the contested district
      as “an inkblot which has spread indiscriminately across the Louisiana map.”
      936 F. Supp. at 364. Throughout Mr. Hefner’s and Dr. Voss’s testimonies,
      they repeatedly stated, suggested, and opined that Louisiana’s
      configuration of minority populations today does not allow the Legislature
      to draw a map with two minority-Black districts without violating the
      Constitution.
              But when confronted with these assertions on cross-examination,
      each quickly equivocated stating that they either “can’t offer an opinion on”
      whether “it’s impossible to create a congressional plan with two majority-
      Black districts that perform well on traditional redistricting principles,” Trial
      Tr. 318–320, or that the simulations could not account for other traditional
      redistricting principles that the Legislature considered in drafting S.B. 8,
      Trial Tr. 160–61. Aside from the limited testimony parroting the dated
      proposition derived from the Hays litigation, Plaintiffs ignore the fact that
      Hays does not account for drastic changes in the state’s population
      dynamics that have occurred since the late 1990s. 29 The decennial census
      has occurred three times since the ink dried on the last iteration of the Hays
      case.


              29
                   See supra, p. 4.




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             It is for this reason, among others, that the Middle District of
      Louisiana rejected every formulation of the argument that the “Hays maps
      [were] instructive, applicable, or otherwise persuasive.” See 605 F. Supp. 3d
      759, 852 (M.D. La. 2022); see also id. at 834. Not only was this sentiment
      accepted by the Fifth Circuit, 30 but it was also accepted by the Louisiana
      Legislature during the 2024 redistricting session. Members of the House and
      Governmental Affairs Committee repeatedly rejected the assertion that
      Hays preempts S.B. 8’s design of District 6. JE 31 at 117–18. During the
      testimony of Mr. Paul Hurd, counsel for Plaintiffs in this case,
      Representative Josh Carlson of Lafayette Parish clarified that Robinson
      presented the Legislature with the “complete opposite scenario than [Hays]
      20 years ago.” See JE 31 at 117. Despite several attempts to analogize S.B. 8
      to the Hays cases, no legislator on the committee bought the argument that
      the State could not draw a map that included two majority-Black districts.
      See JE 31 at 115–18.




             30
                See 86 F.4th at 597 (determining that the Middle District of Louisiana’s
      preliminary injunction holdings were not clearly erroneous).




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             In response to this repudiation of Hays-like rationales to abandon
      S.B. 8, Plaintiffs’ own counsel conceded that a congressional map with two
      majority-minority districts was constitutionally valid during his testimony
      during the 2024 legislative session. JE 31 at 118. During that same House
      and Governmental Affairs Committee meeting, Mr. Hurd testified that “I
      believe that my districting plan that I’ve handed in and I did it for an –– an
      example is as close as you can get to a non-racially gerrymandered district
      and get to two majority-minority districts, and it does.” JE 31 at 31 (page
      118). He further stated that “[t]here are abilities to draw a [second]
      compact contiguous majority-minority district” in the State of Louisiana. Id.
      This evidence in the record demonstrates precisely how Plaintiffs’
      circumstantial case fails to meet their burden. Their case is directly rooted
      to expert demographic and simulation testimony that merely repackages an
      outdated and factually unsupported thesis: that any congressional map with
      two majority-Black districts must be unconstitutional for the reasons
      derived from data and occurrences from nearly three decades ago. See Hays
      I, 839 F. Supp. at 1195; Robinson, 605 F. Supp. 3d at 852. To avoid addressing
      these inconsistencies apparent from the record, the panel majority blends
      the circumstantial and direct evidence together to conclude that race
      played a qualitatively greater role in S.B. 8’s drafting. A look at the direct
      evidence shows how this conclusion is unwarranted based on the totality of
      the legislative record.




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          B. Direct Evidence: Legislators’ Intent
              The panel majority states that it “acknowledges that the record
      includes evidence that race-neutral considerations factored into the
      Legislature’s decisions.” Majority Op. 43. However, it disregards the
      mountain of direct evidence showing that the political directives “could not
      be compromised,” as each of the other proposed bills that did not achieve
      those goals were not seriously considered by the Legislature. See Bethune-
      Hill, 580 U.S. at 189. The panel majority embraces only the quotes from the
      legislative session that refer to the Legislature’s decision to exercise its
      sovereign prerogative to draw its maps under the Louisiana Constitution
      following Robinson I. Majority Op. 41–42. It cites some language from
      Senator Womack, the bill’s sponsor, stating that he drew the map to create
      two majority-Black districts as direct evidence of racial predominance. It
      quotes the statements from select members of the Legislature at
      functionally every time they mention Robinson I and the Governor’s
      decision to place the task of drawing new electoral maps into the hands of
      the Legislature. 31




              31
                 Indeed, it is clear that the district court ordered the Legislature to draw a map
      consisting of two majority-Black districts. As result, Plaintiffs assert that race was not only
      the predominant factor, but the only factor. Assuming arguendo, how then can we
      reconcile the assertion that race was the only factor considered when drawing S.B. 8 with
      the existence of several other maps, including S.B. 4 which contained even more compact
      districts than the adopted map? How is it possible that each proposed map, and the
      ensuing amendments, resulted in distinct district renderings? Neither Plaintiffs nor the
      majority broach this issue because they would be forced to confront what is clear: that
      factors beyond race, including political considerations, went into the drawing of the maps
      that included two majority-Black districts, including S.B. 8.




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             These statements—either alone or crammed together with the
      circumstantial evidence—are insufficient to show racial predominance. The
      panel majority’s conflation of evidence of race consciousness for the
      purpose of avoiding successive § 2 violations under the VRA with racial
      predominance is unprecedented. Its decision to do so after it acknowledges
      that evidence of race consciousness does not constitute evidence of racial
      predominance is also somewhat hard to comprehend. Majority Op. 34
      (citing Shaw I, 509 U.S. at 646; Milligan, 599 U.S. at 29). Through
      contextualizing the totality of the legislative record, I will show precisely
      why those statements referencing Robinson I do not prove racial
      predominance.
             i. Legislative Record
             Unlike Cooper—which turned on “direct evidence of the General
      Assembly’s intent in creating the [challenged district], including many hours
      of trial testimony subject to credibility determinations,” 32—this case
      involves limited trial testimony regarding legislative intent. Although a
      “statement from a state official is powerful evidence that the legislature
      subordinated traditional districting principles to race when it ultimately
      enacted a plan creating [] majority-black districts,” the Court has never
      expressly accepted statements evincing an intent to create a majority-
      minority district alone as prima facie evidence that a racial gerrymander
      occurred. See Shaw II, 509 U.S. at 649; see also Miller, 515 U.S. at 917–19.




             32
                  Cooper, 581 U.S. at 322.




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                a. Incumbency Protection
             First and foremost, it strains credulity to relegate the potent
      evidence of political considerations and incumbency protection to a minor
      factor in the Legislature’s decisions in this case. The trial record
      emphatically shows that S.B. 8’s sponsor, Senator Womack, spoke
      continuously and fervently about his aims to protect certain incumbents—
      as well as to encase specific communities of interest within District 6. The
      record shows that while the Legislature considered race, it only considered
      it alongside other political and geographic considerations. See Cromartie II,
      532 U.S. at 236. The legislative record reveals that Senator Womack’s
      personal goals necessitated the protection of certain members of
      Louisiana’s Republican delegation in Congress. See, e.g., JE 31 at 25.
             On January 16, 2024, the first day of the 2024 legislative session,
      Senator Womack introduced his bill to the Senate and Governmental Affairs
      Committee. See generally JE 29 (transcript of committee meeting). In his
      opening statement, Senator Womack averred that “[t]he boundaries in this
      bill I’m proposing ensure that Congresswoman Letlow remains both
      unimpaired with any other incumbents and in a congressional district that
      should continue to elect a Republican to Congress for the remainder of this
      decade.” JE 29 at 1. He continued to assert that the bill ensured four safe
      Republican seats and a “Louisiana Republican presence in the United States
      Congress [that] has contributed tremendously to the national discourse.” JE
      29 at 2. He described the personal pride that resulted from the fact that the
      state’s congressional delegation included the Speaker of the U.S. House of
      Representatives, Mike Johnson, and House Majority Leader Steve Scalise.
      Id. He went on to state that “[]his map ensures that the two of them will
      have solidly Republican districts at home so that they can focus on the
      national leadership that we need in Washington, DC.” JE 29 at 2.




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             After the bill passed to the House and Governmental Affairs
      Committee for a hearing on January 18, 2024, Senator Womack stated that
      he sought to protect Representatives “Scalise, as well as Johnson, Letlow,”
      and “Higgins.” JE 31 at 25. Senator Womack left one “odd man out” of the
      delegation. He directly stated that one member of the state’s Republican
      delegation that was not part of the “Republican team.” See id. And that one
      member was Congressman Garret Graves. See id. Thus, it is convincing to
      credit Senator Womack’s unwavering assertions that these political
      considerations were the “primary driver[s]” of S.B. 8. See id.
             In that same committee hearing, the line of questioning shifted to
      comparing S.B. 8 to the rejected S.B. 4 map proposed by Senator Ed Price of
      Ascension Parish and Senator Royce Duplessis of Orleans Parish. While
      comparing his map to S.B. 4, Senator Womack agreed that his bill proposed
      districts that were less compact than S.B. 4. Id. But he attributed the less
      compact shape of District 4 in S.B. 8—which impacted District 6’s
      compactness—to his attempt to comply with the VRA while also protecting
      Speaker Johnson and Congresswoman Letlow in North Louisiana and
      Majority Leader Scalise in Southeast Louisiana “[a]t the same time.” See JE
      31 at 22–25; 31. He continued to state that his map diverged from S.B. 4’s
      configuration which he believed to threaten Congresswoman Letlow’s
      chances of remaining in the House of Representatives. See JE 31 at 25–26.




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              This is precisely because S.B. 4 proposed that District Five would
      constitute a more compact, second majority-minority district that
      enveloped Congresswoman Letlow’s home precinct. 33 Trial Tr. 524
      (testimony of Sen. Duplessis) (“The map that I co-authored with Senator
      Price, the second majority-Black district went from Baton Rouge up to
      northeast Louisiana, the Monroe area.”). Senator Womack agreed with the
      characterization that while the Legislature’s Democratic caucus supported
      S.B. 4 for a myriad of reasons, he offered this “political map” to protect his
      personal political interests as well as Louisiana’s standing in the national
      conversation. See JE 31 at 26. In an exchange with House and Governmental
      Affairs Committee Chairman Gerald Beaullieu of Iberia Parish, Senator
      Womack explained that he sought to protect the national interests of the
      state’s conservative majority leadership through protecting its most
      established leaders. JE 31 at 26–27. Senator Womack declared that “[i]t’s
      bigger than just us,” and that Louisiana’s more influential members of
      Congress should be protected to elevate the state based on his view of the
      state’s “poor position.” JE 31 at 27. Before amendments were offered,
      Senator Womack and Chairman Beaullieu agreed that S.B. 8 was “able to
      accomplish what the [Middle District of Louisiana] has ordered through
      [the] map, and also . . . protect[s] the political interest[s]” raised by Senator
      Womack. Id.



              33
                  Trial Tr. 524 (testimony of Sen. Duplessis) (“I recall the [population] numbers
      being very similar” between S.B. 4 and S.B. 8, with “[t]he main difference between the
      two maps . . . [being] just the[ir] geographic design[s]”). Opponents of S.B. 8 suggested
      that the bill does not actually seek to protect Letlow because it “puts too many votes in
      the south” or Florida Parishes of District Five. JE 34 at 6 (“I applaud [Sen. Womack] for
      having stated that [protecting Congresswoman Letlow] is one of the objectives of this
      bill, but this bill doesn’t do that.”). These assertions were mere conjecture that: (A)
      proposed no other reasonable or possible alternative map and sought to risk the probable
      liability after a full trial in the Middle District of Louisiana; (B) did not consider the fact




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              The panel majority minimizes the political reasoning behind the
      map’s contours but cites this exact quote from the exchange between
      Chairman Beaullieu and Senator Womack as direct evidence of racial
      predominance. Majority Op. 43. The panel majority ignores key pieces of
      information from the trial record to suggest its conclusion of “racial
      gerrymandering,” where none exists. Regrettably, it subjugates the copious
      evidence of the overarching political motives in the Legislature.
      Respectfully, the panel majority ignores wholesale references to partisan
      politics and incumbent protection in its direct evidence analysis, only to
      throw it in as an aside before reaching its ultimate conclusion. See Majority
      Op. 43. It “acknowledge[d]” that “race-neutral considerations factored into
      the Legislature’s decisions, such as the protection of incumbent
      representatives.” Majority Op. 43. It then cites trial testimony from Senator
      Pressly and Senator Seabaugh agreeing that protecting the Republican
      leadership in Washington played a part in the legislative session. Id. (citing
      Trial Tr. 60, 71, 69).
              This narrow examination of the trial record stops short of
      corroborating whether Plaintiffs actually satisfied their burden of
      disentangling race from politics. Furthermore, the evidence the panel
      majority pieces together from trial is far from the only evidence of political
      motives adduced from the numerous fact witnesses serving in the
      Legislature.




      that the alternative maps introduced in the legislative session placed Congresswoman
      Letlow in far less favorable positions. See Trial Tr. 560 (testimony of Commissioner Lewis)
      (stating that S.B. 4 and H.B. 5 placed Congresswoman Letlow in the second majority-Black
      district).




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              Take for instance the trial testimony of Representative Mandie
      Landry of Orleans Parish, who testified to the “fear among Republicans that
      if they” failed to pass a map before the Robinson I trial “that the [Middle
      District of Louisiana] would draw one that wouldn’t be as politically
      advantageous for them.” Trial Tr. 367–68. She then said the quiet part out
      loud—that “everyone knew that” Governor Landry “wanted Congressman
      Graves out.” Trial Tr. 370. Her unrefuted testimony demonstrated that S.B.
      8 was “the Governor’s bill” and that the Republican delegation’s leadership
      supported it. See id. Representative Landry also noted that there were “a
      couple dozen bills [addressing] other issues that we understood were the
      Governor’s bills,” each tracking an item addressed in the Governor’s call for
      a special session. 34 Trial Tr. 371 (explaining that the Legislature was “also
      discussing the [Louisiana] Supreme Court maps” and a bill to abolish the
      jungle primary system to move to “closed primaries” limited to registered
      party voters); see also JE 8 at 1–2 (calling for the Legislature to convene to
      draft new legislation and amendments relative to the election code,
      Louisiana Supreme Court districts, Congressional districts).


              34
                  The relevance of Governor Landry’s involvement in S.B. 8 cannot be overstated
      and is not even mentioned in a footnote by the majority. The best evidence of his
      involvement can be gleaned from his remarks to the Legislature at the opening of the
      2024 Extraordinary Legislative Session. To assert that the Louisiana Legislature
      confronted this redistricting issue solely at the behest of the district court is plainly
      unsupported based on the Governor’s statements and contradicts the language of Article
      III, § 6 of the Louisiana Constitution which states that “the legislature shall reapportion
      the representation in each house as equally as practicable on the basis of population
      shown by the census.” Governor Landry—a lawyer, a former Congressman of District 3,
      and the former Attorney General of Louisiana who “did everything [he] could to dispose
      of [the Robinson] litigation,” and who was well aware of the redistricting process—seized
      the initiative and called upon the Legislature to exercise its sovereign prerogative (and
      the legislative obligation) to draw the map. During his remarks, when he stated that the
      district court handed down an order, he specified that the order was for the Legislature
      to “perform our job… our job that our own laws direct us to complete, and our job that




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             From Representative Landry’s time in the House Chamber during
      prior legislative sessions and the 2024 legislative session, she noted
      “hundreds” of discussions with House Republicans that made clear that any
      legislation that contradicted the political dynamics around S.B. 8 were non-
      starters. Trial Tr. 375. Representative Landry testified that these political
      discussions “had been going on since the Governor was elected among us
      and [in] the media” and “increased [in frequency] as we got closer to [the
      Governor’s] inauguration.” Trial Tr. 370–71.




      our individual oaths promise we would perform.” JE 35 at 10. He continued by asserting
      that “[w]e do not need a federal judge to do for us what the people of Louisiana have
      elected you to do for them. You are the voice of the people, and it is time that you use
      that voice. The people have sent us here to solve problems, not to exacerbate them, to
      heal divisions, not to widen them.” JE 35 at 11.




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             Louisiana Public Service Commissioner Davante Lewis also testified
      at trial as to the overarching, dominant political objectives of the 2024
      legislative redistricting session. With years of experience working in the
      state capitol as a legislative aide, lobbyist, and elected official, he provided
      ample evidence of what transpired during the 2024 legislative session. Trial
      Tr. 562 (stating that he “knew the entire [Senate] committee” because he
      “had worked with them” in the Legislature for “over eight years”).
      Commissioner Lewis explained that there were two other redistricting maps
      that did not advance to the full floor for votes: S.B. 4, sponsored by Senators
      Price and Duplessis, and H.B. 5, sponsored by Representative Marcelle. Trial
      Tr. 560. He stated that both of those maps placed Congresswoman Letlow
      in the second majority-Black congressional district, with Congressman
      Graves in a safe Republican seat. See Trial Tr. 560 (“Q. How many majority
      black districts were in the map[s]? A. Two. Q. Who currently represents
      those districts? A. It would be Congressman Carter and Congresswoman
      Letlow.”); Trial Tr. 524 (“The main difference between the two maps . . . was
      just the geographic design of the map.”).
             Commissioner Lewis recounted that he testified in favor of S.B. 4
      before the Senate and Governmental Affairs Committee on January 16,
      2024. Trial Tr. 560–61. He testified that S.B. 4 did not advance out of
      committee on that day. Trial Tr. 563. He stated that the vote “came down
      on party lines,” and that “[a]ll Republicans voted against it.” Trial Tr. 563.
      From this testimony, it is safe to say that more compact bills that included
      two majority-Black districts but did not protect the right Republican
      incumbents were effectively dead on arrival.
             A clear example of this sentiment in action in the legislative record
      comes from Representative Marcelle’s statements in front of the House and
      Governmental Affairs Committee on January 17, 2024. Less than twenty-




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      four hours after S.B. 4 was shot down in committee on purely partisan lines,
      Representative Marcelle voluntarily pulled H.B. 5 from consideration. She
      stated that her reasons for doing so were based on “knowing what the
      politics are at play.” JE 37 at 6. She further stated that any “[b]ill that was
      very similar” to H.B. 5 and S.B. 4 would “probably never make it to the
      floor.” JE 37 at 6.
              Senator Duplessis’s trial testimony provides even more context
      dating back to the initial 2022 legislative redistricting session. As a member
      of the House and Governmental Affairs for that session, Senator Duplessis
      “traveled for months across the state and conducted roadshows and
      listened to the community” to assess what they would like to see in the
      redistricting process. 35 Trial Tr. 513–14. He witnessed countless
      perspectives from voters across the state that called for fair maps that
      would reflect the state’s population and comply with the VRA. See Trial Tr.
      515. Recalling the session that followed the roadshow process, Senator
      Duplessis explained that legislation featuring an electoral map that included
      two majority-Black districts were “all voted down” in committee. Trial Tr.
      515. In spite of the populace’s clear expression for the Legislature to pass
      fair maps 36 the Legislature ultimately chose H.B. 1. He continued to explain


              35
                 See, e.g., Power Coalition, Legislative Redistricting Roadshow Comes to
      Alexandria     on     Tuesday,      November        9,   2021,   (Nov.     9,    2021),
      https://powercoalition.org/legislative-redistricting-roadshow-comes-to-alexandria-on-
      tuesday-november-9-2021/.
              36
                 Indeed, the Legislature’s deliberative process was informed by community
      perspectives that demonstrated the unity of interests behind an electoral map that
      included two majority-Black districts. This sharply contrasts with the situation in Vera. See
      861 F. Supp. at 1334 (“The final result seems not one in which the people select their
      representatives, but in which the representatives have selected the people.”). Members
      of both major political parties in the Legislature attended the nearly dozen roadshows
      across the state and heard this ubiquitous message.




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      that the Legislature convened for a special redistricting session in June 2022
      after the preliminary injunction decision in Robinson I. Trial Tr. 517. He
      testified that several bills introduced in that special session would have
      complied with the VRA as ordered by the Middle District of Louisiana and
      adhered to traditional districting principles. Trial Tr. 518. Ultimately, none
      were adopted in that session for the same reasons that S.B. 4 and H.B. 5
      failed; they were not supported by the Governor and the Republican
      delegation’s leadership.
             Senator Duplessis further contended that the Governor’s influence
      over S.B. 8 led to its quick passage in the Legislature. Trial Tr. 525. Noting
      the Governor’s position “coming off an election with no runoff,” Senator
      Duplessis testified that “[the Governor’s] support would have a lot of
      influence on what does and doesn’t get passed.” Trial Tr. 525. He stated that
      after Senator Womack’s bill was filed “it became clear that that was the map
      that Governor Landry would support.” Id. He continued to state that one
      does not “have to be a redistricting expert to know that any time a new map
      is drawn,” that “[t]here is going to be someone who is negatively impacted
      from an incumbency standpoint.” Id. On the floor of the Legislature during
      the 2024 session, Senator Duplessis noted that Senators Womack and Stine
      consistently talked about “the importance of protecting certain elected
      officials.” JE 30 at 20; Trial Tr. 527. When questioned about this statement
      at trial, he stated that “the political decision was made to protect certain
      members of Congress and to not protect one member of Congress and that
      it was clear that that member was going to be Congressman Garret Graves.”
      Trial Tr. 527.
             After the floor was open to amendments to S.B. 8 in the House and
      Governmental Affairs Committee, Senator Womack and Representative
      Michael Johnson of Rapides Parish noted that S.B. 8 was not drafted “in a




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      vacuum” and that the congressional map would affect people in Senator
      Womack’s own State Senate district. JE 31 at 45–46. Senator Womack
      accepted that while some Republicans may give him “a lot of heat” for the
      decision to draw a map that included two majority-minority districts, he
      agreed with Representative Johnson that S.B. 8 “present[s] a map that
      achieves all the necessary requirements [of a valid map] and . . . [is] the best
      instrument that [he] could come up with.” JE 31 at 46.
             Thus, the legislative record in this case reveals the true “dominant
      and controlling” factors driving the adopted map’s boundaries. See Miller,
      515 U.S. at 913One such factor was the need to protect every member of
      Louisiana’s Republican delegation in the U.S. House of Representatives
      except for Congressman Graves. That was the criterion that “could not be
      compromised.” See Bethune-Hill, 580 U.S. at 189 (quotation omitted). On
      this point, not even S.B. 8’s detractors—either at trial or during the
      legislative session—attempted to debunk or attack this offered rationale.
      See Trial Tr. 71 (testimony of Sen. Pressly) (“There were certainly discussions
      [in the Republican Delegation] on ensuring” that Speaker Johnson, Majority
      Leader Scalise, and Congresswoman Letlow were protected); Trial Tr. 76–77
      (agreeing that a “Republican would be likely to lose in a second majority-
      Black district” like the other maps proposed in the Legislature); Trial Tr. 61
      (testimony of Sen. Seabaugh). With all of this context, it becomes indelibly
      clear that Governor Landry’s and the Republican delegation’s decisions to
      protect Speaker Johnson, Majority Leader Scalise, and Congresswoman
      Letlow and cut out Congressman Graves shows that political motivations
      “could not be compromised” during the redistricting process. See Bethune-
      Hill, 580 U.S. at 189. Thus, the overwhelming evidence of the goal of
      incumbency protection in the legislative record shows that Plaintiffs have




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      failed to meet their burden to prove racial predominance in this “mixed
      motive” case, as required by Supreme Court precedent.




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                b. Other Traditional Redistricting Principles Respected in S.B. 8
             The evidence in the record as to the communities of interest
      contained within S.B. 8 substantially undermines the assertion that race
      predominated in the bill’s drafting. The Supreme Court has warned that
      “where the State assumes from a group of voters’ race that they ‘think alike,
      share the same political interests, and will prefer the same candidates at
      the polls,’ it engages in racial stereotyping at odds with equal protection
      mandates.” Miller, 515 U.S. at 920. Notably, this record is flush with
      community of interest evidence that rebuts the allegations of racial
      stereotyping. See Theriot, 185 F.3d at 485.
             There are tangible communities of interest spanning District 6. The
      panel majority cannot plausibly conclude that the evidence compels a
      determination that there are no tangible communities of interest contained
      in District 6. Unlike in Miller in which the Court was presented with a
      comprehensive report illustrating the fractured political, social, and
      economic interests within the district’s Black population, this court was only
      presented with trial testimony subject to credibility determinations. Miller,
      515 U.S. at 919.




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             “A district may lack compactness or contiguity—due, for example, to
      geographic or demographic reasons—yet still serve the traditional
      districting goal of joining communities of interest.” Cromartie I, 526 U.S. at
      555 n.l (Stevens, J., concurring). A determination that race played a
      predominant role—over incumbency protection, communities of interest,
      compactness, and contiguity—is crucial to Plaintiffs’ case. However, the
      Plaintiffs rely on this court solving every conflict of fact in their favor and
      accepting their inferences in order to hold that they have satisfied their
      burden of proof. The Court has advised courts that “[w]here there are such
      conflicting inferences one group of them cannot, be[] labeled as ‘prima facie
      proof.’” Wright v. Rockefeller, 376 U.S. 52, 57 (1964). If one inference were
      to be “treated as conclusive on the fact finder,” it would “deprive him of his
      responsibility to choose among disputed inferences. And this is true
      whether the conflicting inferences are drawn from evidence offered by the
      plaintiff or by the defendant or by both.” Id. The record does not support
      the panel majority’s view that Plaintiffs’ evidence has established a prima
      facie case compelling this panel, despite conflicting inferences which could
      be drawn from that evidence, to hold that the State drew S.B. 8 solely on
      the basis of race. See id.




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             The panel majority clings to rationales from Hays, averring that its
      descriptions of cultural divides are still true today. It bears repeating that—
      considering the long passage of time and trends of cultural integration over
      the last few decades—it is unreasonable and untenable for this court to
      conclude “much of the ‘local appraisal’ analysis from Hays I remains
      relevant to an analysis of S.B.8.” See Majority Op. at 53–54. Citing the map’s
      divisions of the Acadiana region, the majority contends that S.B. 8 “fails to
      take into account Louisiana’s diverse cultural, religious, and social
      landscape in any meaningful way.” Majority Op. 55 n.11. But the panel
      majority’s narrow view rooted from its cursory consultation of select
      cultural historical sources and Hays sharply conflicts with decades of
      electoral history.




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              Several witnesses that testified in this case stated that Louisiana’s
      political subdivisions and geographical and cultural hotspots are routinely
      split in different electoral districts. Instead of evaluating it based on the
      evidence in this case, the panel majority condemns S.B. 8 for its multiple
      divisions of the “strong cultural and ethnic groups” in the Acadiana area. 37
      At first glance, the panel majority’s aim is noble and sensible. But the
      complexity of relationships between populations within the Acadiana area,
      as well as its geographic composition, do not promote one unitary
      community of interest. In 1971, the Louisiana Legislature passed a
      resolution officially recognizing and protecting the “traditional twenty-two
      parish Cajun homeland.” 38 The Acadiana Delegation in the Legislature
      provides the following map of Acadiana and segments the often referred-
      to Cajun Heartland (in darker red) from the rest of Acadiana. 39




              37
                 The panel majority also paints with a broad brush to describe the region, but
      its high-level discussion assumes that two distinctive cultures that have learned how to
      live harmoniously in a large shared geographic region morphs those distinctive
      communities into a homogenous, unitary community of interest. Cajun and Creole
      populations have different histories, languages, food, and music. In my view, the
      intriguing relationship between Cajuns and Creoles may lend itself to noting that they do
      not neatly fit into a unitary community of interest. Somewhat respecting this notion, the
      Legislature has consistently segmented the Acadiana area into multiple congressional
      districts over the past few decades.
              38
                  Acadiana Legislative Delegation, (last visited April 29, 2024),
      https://house.louisiana.gov/acadiana/#:~:text=Acadiana%20often%20is%20applied%20
      only,sometimes%20also%20Evangeline%20and%20St.
              39
                 Id. (“Acadiana often is applied only to Lafayette Parish and several neighboring
      parishes, usually Acadia, Iberia, St. Landry, St. Martin, and Vermilion parishes, and
      sometimes also Evandeling and St. Mary; this eight-parish area, however, is actually the
      ‘Cajun Heartland, USA’ district, which makes up only about a third of the entire Acadiana
      region.”).




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              Under the delegation’s definition, the Acadiana parishes contain
      portions of three of the state’s five major population centers: Lake Charles,
      Lafayette, and the outskirts of Baton Rouge. 40 Acadiana stretches from the
      marsh lands in St. Mary Parish all the way up to Avoyelles Parish in the Red
      River Basin. Importantly, the majority ignores the fact that the twenty-two
      parishes that lie within this corner of the state have been segmented into
      multiple single-member congressional districts since the 1970s. 41
              The following map demonstrates the congressional districts for the
      majority of the 1970s. Notably it splits Acadiana into three congressional
      districts:




              40
                   See id.
              41
                 Even if the panel majority restricts its description of Acadiana into the “Cajun
      Heartland” parishes, see supra n.40, it also cannot account for the fact these have been
      routinely split into multiple congressional districts for decades. The following maps are
      retrieved from shapefile data compiled and organized by professors from the University
      of California at Los Angeles. Jeffrey B. Lewis, Brandon DeVine, Lincoln Pitcher, & Kenneth
      C. Martis, Digital Boundary Definitions of United States Congressional Districts, 1789-2012
      (2013)      (datafile    and       code     book       generating     district     overlays),
      https://cdmaps.polisci.ucla.edu.




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            Continuing to the 1980s, the Legislature continued to segment
      Acadiana for another decade:




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              Even the congressional districts drawn by the Hays panel were no
      different on this front, also splitting up the Acadiana area into multiple
      districts: 42




              Neither did the congressional districts enacted after the turn of the
      millennium keep Acadiana whole: 43




              42
                   936 F. Supp. 360, 372 (W.D. La. 1996) (“The State of Louisiana is directed to
      implement the redistricting plan drawn by this court and ordered implemented in Hays
      II.”). The judicially created map split Acadiana into districts 3, 5, 6, and 7.
              43
                   See Act 10, H.B. 2 (2001) (splitting Acadiana into four congressional districts).




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               Another decade passes, and the Legislature carves up Acadiana once
      more. The Legislature continued this trend after the 2010 census. The
      electoral map enacted in 2011 44 likewise split Acadiana into four districts:




               If the majority’s formulation is correct, then none of these maps,
      including H.B. 1 (depicted below), 45 had adequately accounted for
      Louisiana’s diverse cultural landscape in any meaningful way.




               44
                    Act 2, H.B. 6 (2011) (same).
               45
                    Act 5, H.B. 1 (2022) (dividing Acadiana into four single-member congressional
      districts).




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             Thus, dating back decades, it is safe to say Acadiana has been a
      community that is “not unaccustomed to splitting” in order to achieve a
      variety of other goals in Congressional reapportionment. Cf. Theriot, 185
      F.3d at 483; Theriot v. Parish of Jefferson, 966 F. Supp. 1435, 1444 (E.D. La.
      1997). For this reason, S.B. 8’s division of Acadiana cannot persuasively be
      interpreted to prove that race predominated in its drafting. See H.B. 1, Act
      5 (2022) (dividing the Acadiana region into four Congressional districts); H.B.
      6, Act 2 (2011) (doing the same). Absent from the majority’s analysis is
      discussion of precedent making clear that an electoral map that splits a
      community of interest is not strong evidence of racial predominance if the
      community is accustomed to being split into multiple districts. Cf. Theriot,
      185 F.3d at 485. Furthermore, the legislative record in this case shows that
      the Legislature considered a number of other communities of interest and
      apportioned them appropriately into single-member districts. 46



             46
                  See also supra notes 21–26.




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             Here is what the record demonstrates as to the communities of
      interest factor. In testimony before the House and Governmental Affairs
      Committee, Senator Womack and numerous other members of the
      Louisiana House of Representatives noted that District 6 in S.B. 8 contained
      numerous communities of interest. Representative Larvadain of Rapides
      Parish noted that District 6 respected regional education and employment
      interests, noting that Rapides area residents lie within a “community of
      interest with Natchitoches and Caddo” parishes. JE 31 at 21. He further
      noted that residents of Point Coupee Parish in District 6, which lies almost
      midway between Opelousas and Baton Rouge, utilize health systems
      services and hospitals in Saint Landry Parish’s more densely populated seat
      of Opelousas. JE 31 at 21–22. As another note, S.B. 8’s District 4 contains
      the two major military bases in the state under the watch of the most
      powerful member of the U.S. House of Representatives, Speaker Johnson.
      Trial Tr. 384 (noting that assets like military bases, along with colleges or
      universities are information that legislators and electoral demographers
      consider as communities of interest).
             The majority does not grapple with any of this. Instead, it clings
      tightly to Mr. Hefner’s dot density map and testimony on the contours of
      the district’s lines in certain areas instead of truly examining whether
      Plaintiffs had disentangled politics and race to prove that the latter drove
      District 6’s lines. See Cromartie I, 526 U.S. at 546; Theriot, 185 F.3d at 486
      (“Our review of the record leads us to conclude that the inclusion or
      exclusion of communities was inexorably tied to issues of incumbency.”).
      Thus, the majority cannot convincingly hold that Plaintiffs have met their
      burden of debunking the State’s “political motivation” defense.




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                                    III. Strict Scrutiny
             In my view, the panel majority adopts an incomplete interpretation
      of the legislative record and inconsistent circumstantial evidence to hold
      that S.B. 8 constitutes a racial gerrymander. Following that determination,
      the panel majority asserts that S.B. 8 fails strict scrutiny. Notwithstanding
      my writings above that demonstrate that S.B. 8 does not constitute an
      impermissible racial gerrymander, I now explain how the majority’s second
      major determination also lacks a substantial basis in the record.
         A. Compliance with the VRA is a Compelling State Interest
             To survive an equal protection challenge to an election redistricting
      plan which considers race as a factor, the state must show that its
      redistricting plan was enacted in pursuit of a compelling state interest and
      that the plan’s boundaries are narrowly tailored to achieve that compelling
      interest. See Vera, 517 U.S. at 958–59. In my view, it is clear that the State
      has satisfied its burden in demonstrating that District 6’s boundaries in S.B.
      8 were created pursuant to a compelling state interest and were narrowly
      tailored to achieve that interest.
             It is axiomatic that “compliance with § 2 of the Voting Rights Act
      constitutes a compelling governmental interest.” See Clark v. Calhoun Cnty.,
      88 F.3d 1393, 1405 (5th Cir. 1996); Cooper, 581 U.S. at 301. Furthermore,
      the Supreme Court has consistently made clear that “a State indisputably
      has a compelling interest in preserving the integrity of its election process.”
      Brnovich v. Dem. Nat’l Comm., 141 S. Ct. 2321, 2347 (2021) (quoting Purcell
      v. Gonzalez, 549 U.S. 1, 4 (2006) (per curiam) (internal quotation marks
      omitted)).
             In the face of this, Plaintiffs argue that compliance with the VRA is
      not a compelling governmental interest based on this record. Plaintiffs




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      categorize the State’s decision to settle the Robinson matter by calling a
      special session to draw new maps as “pretrial court-watching” insufficient
      to constitute “a compelling interest to justify race-based line drawing.”
      Plaintiffs’ Br. 14. They contend that the State’s reliance on the VRA is based
      on the Attorney General’s “calculated guess” on how the Middle District
      would rule, rather than an independent analysis of H.B. 1’s performance
      under the VRA. Plaintiffs point to the Attorney General’s responses to
      questioning during an information session before the 2024 Legislative
      Session formally opened in the morning hours of January 16, 2024, to
      support the theory that the Legislature did not truly consider VRA
      compliance in deciding to promulgate S.B. 8. Plaintiffs’ Br. 15. Alternatively,
      they assert that the VRA is merely a “post-hoc justification[]” offered by the
      State to avoid liability. See Bethune-Hill, 580 U.S. at 190.
             None of these arguments are persuasive. The State has pointed to a
      compelling state interest recognized by binding Supreme Court precedent.
      See Cooper, 581 U.S. at 292, 301; Shaw II, 517 U.S. at 915. I now proceed to
      address narrow tailoring as the State has sufficiently established a strong
      basis in evidence underlying its redistricting decisions.
         B. Strong Basis In Evidence

             The State argues that it had good reasons to believe that it had to
      draw a majority-minority district to avoid liability for vote dilution under §
      2 of the VRA. See Ala. Legis. Black Caucus v. Alabama, 575 U.S. 254, 278
      (2015) (holding that legislators “may have a strong basis in evidence to use
      racial classifications in order to comply with a statute when they have good
      reasons to believe such use is required, even if a court does not find that
      the actions were necessary for statutory compliance”); Cooper, 581 U.S. at
      287 (“If a State has good reason to think that all three of these [Gingles]
      conditions are met, then so too it has good reason to believe that § 2




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      requires drawing a majority-minority district. But if not, then not.”).
      Moreover, the Court has emphasized that as part of the strict scrutiny
      inquiry “a court’s analysis of the narrow tailoring requirement insists only
      that the legislature have a ‘strong basis in evidence’ in support of the (race-
      based) choice that it has made.” Ala. Legis. Black Caucus, 575 U.S. at 278. In
      essence, the Court has indicated that the State must establish a strong basis
      in evidence for concluding that the threshold Gingles conditions for § 2
      liability are present, namely:
             First, “that [the minority group] is sufficiently large and
             geographically compact to constitute a majority in a single
             member district”; second, “that it is politically cohesive”; and
             third, “that the white majority votes sufficiently as a bloc to
             enable it . . . usually to defeat the minority’s preferred
             candidate.”
      Vera, 517 U.S. at 978 (quoting Thornburg v. Gingles, 478 U.S. 30, 50–51,
      (1986)) (internal citation omitted).
             The majority errs in asserting that the State has not met its burden
      here. See Majority Op. at 51. Markedly, the majority has incorrectly
      articulated the State’s burden as requiring it to show that the contested
      district, District 6, satisfies the first Gingles factor. The Supreme Court has
      already directed that the first Gingles condition “refers to the compactness
      of the minority population [in the state], not to the compactness of the
      contested district.” League of United Latin Am. Citizens v. Perry, 548 U.S.
      399, 433 (2006) (“LULAC”) (quoting Vera, 517 U.S. at 997 (Kennedy, J.,
      concurring))). As such, the State’s actual burden is to show that the first
      Gingles condition—the Black population is sufficiently large and
      geographically compact to constitute a majority in a single-member
      district—is present so as to establish that it had a strong basis in evidence
      for concluding that its remedial action to draw a new map was required.




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      Cooper, 581 U.S. at 287; Vera, 517 U.S. at 978. “If a State has good reason
      to think that all the Gingles preconditions are met, then so too it has good
      reason to believe that § 2 requires drawing a majority-minority district.”
      Cooper, 581 U.S. at 302 (internal quotation marks omitted).
               The Black population’s numerosity and reasonable compactness
      within the state must first be established as required by Gingles. Cooper,
      581 U.S. at 301; Allen v. Milligan, 599 U.S. 1, 19 (2023). To satisfy the first
      Gingles precondition, plaintiffs often submit illustrative maps to establish
      reasonable compactness for purposes of the first Gingles requirement.
      Milligan, 599 U.S. at 33 (“Plaintiffs adduced at least one illustrative map that
      comported with our precedents. They were required to do no more to
      satisfy the first step of Gingles.”). As such, courts evaluate whether the
      illustrative plans demonstrate reasonable compactness when viewed
      through the lens of “traditional districting principles such as maintaining
      communities of interest and traditional boundaries.” LULAC, 548 U.S. at 433
      (internal quotation marks omitted). With respect to the first Gingles
      precondition, in Robinson I, the Middle District of Louisiana found both (1)
      that Black voters could constitute a majority in a second district in Louisiana
      and (2) that a second district could be reasonably configured in the state.
      Robinson I, 605 F. Supp. 3d at 820–31; see Milligan, 599 U.S. at 19. Following
      Milligan’s lead, the Robinson I court analyzed example districting maps that
      Louisiana could enact—each of which contained two majority-Black districts
      that comported with traditional districting criteria—to conclude that a
      second majority-minority district could be formulated from Louisiana’s
      demographics. Robinson I, 605 F. Supp. 3d at 822–31; see Milligan, 599 U.S.
      at 20.
               Because the Middle District of Louisiana had thoroughly conducted a
      Gingles analysis, the State had good reasons to believe (1) that the Gingles




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      threshold conditions for § 2 liability were all present and (2) that it was
      conceivable to draw two majority-minority congressional districts that
      satisfy the first prong of Gingles while adhering to traditional redistricting
      principles. The Robinson I court’s thorough analysis that the plaintiffs were
      substantially likely to prevail on the merits of their §2 claim provided
      powerful evidence and analysis supporting the State’s strong basis in
      evidence claim that the VRA requires two majority-Black districts. Cf.
      Wisconsin Legis. v. Wis. Elections Comm’n, 595 U.S. 398, 403 (2022) (holding
      that the Governor failed to carry his burden because he “provided almost
      no other evidence or analysis supporting his claim that the VRA required the
      seven majority-black districts that he drew”). The majority points to no
      precedent requiring the State to reestablish or embark on an independent
      inquiry regarding the numerosity and reasonable compactness of
      Louisiana’s Black population after an Article III judge has already carefully
      evaluated that evidence in a preliminary injunction proceeding. Id. at 410
      (Sotomayor, J., dissenting) (“The Court points to no precedent requiring a
      court conducting a malapportionment analysis to embark on an
      independent inquiry into matters that the parties have conceded or not
      contested, like the Gingles preconditions here.”).

             Notably, both the majority and the Robinson I court would agree that
      where the record reflects that the Black population is dispersed then § 2
      does not require a majority-minority district. Compare 605 F. Supp. 3d at
      826 (“If the minority population is too dispersed to create a reasonably
      configured majority-minority district, [§ 2] does not require such a district.”)
      (internal citation and quotation marks omitted), with Majority Op. at 51
      (“The record reflects that, outside of southeast Louisiana, the Black
      population is dispersed.”). But it was the Robinson I court that was provided
      with an extensive record—particularly extensive for a preliminary




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      injunction   proceeding—regarding      the   numerosity     and     geographic
      compactness of Louisiana’s Black population. And this court should not
      deconstruct or revise that finding. Despite the majority’s suggestion that
      the “[instant] record reflects that, outside of southeast Louisiana, the Black
      population is dispersed,” this record makes no such certitude. See Majority
      Op. at 51.
             Likewise, the Supreme Court has been clear that compactness in the
      equal protection context, “which concerns the shape or boundaries of a
      district, differs from § 2 compactness, which concerns a minority group’s
      compactness.” LULAC, 548 U.S. at 433 (quoting Abrams v. Johnson, 521 U.S.
      74, 111 (1997)). “In the equal protection context, compactness focuses on
      the contours of district lines to determine whether race was the
      predominant factor in drawing those lines.” Id. (citing Miller, 515 U.S. at
      916–17). The inquiry under § 2 is whether “the minority group is
      geographically compact.” Id. (quoting Shaw II, 517 U.S. at 916) (internal
      quotation marks omitted).
             The instant case is about an asserted equal protection violation. The
      fully developed trial record substantiates District 6’s compactness as it
      relates to traditional redistricting factors. Conversely, Robinson I and its
      associated record are about a vote dilution violation. In essence, the record
      in Robinson I is replete with evidence concerning the inquiry under § 2 into
      whether the minority group is geographically compact. Robinson I, 605 F.
      Supp. 3d at 826. The Robinson I court correctly determined that “[t]he
      relevant question is whether the population is sufficiently compact to make
      up a second majority-minority congressional district in a certain area of the
      state.” Robinson I, 605 F. Supp. 3d at 826. And that is the determination that
      the Middle District of Louisiana made. Equipped with expert testimony
      regarding the numerosity and reasonable compactness of the Black




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      population in Louisiana, the Robinson I court made a finding that the “Black
      population in Louisiana is heterogeneously distributed.” 605 F. Supp. 3d at
      826. In Robinson I, the court determined that “[p]laintiffs have
      demonstrated that they are substantially likely to prove that Black voters
      are sufficiently ‘geographically compact’ to constitute a majority in a second
      congressional district.” Robinson I, 605 F. Supp. 3d at 822. It would be
      unreasoned and inappropriate for this court—without the benefit of a
      record relevant to vote dilution—to now post hoc suggest that Black voters
      are not sufficiently “geographically compact” and thus overrule the
      Robinson I court’s finding.
             After determining that the previously enacted redistricting plan, H.B.
      1, likely violated § 2, the Middle District of Louisiana did not impose a
      particular map or course of action on the State. Id. at 857 (“The State . . . is
      not required to [use one of plaintiffs’ illustrative plans], nor must it ‘draw
      the precise compact district that a court would impose in a successful § 2
      challenge.’”). Rather, the Robinson I court highlighted that the State
      retained “broad discretion in drawing districts to comply with the mandate
      of § 2.” Id. (quoting Shaw II, 517 U.S. at 917 n.9). It emphasized the State’s
      numerous options for a path forward, namely that the State could “elect to
      use one of Plaintiffs’ illustrative plans” or “adopt its own remedial map.”
      The State chose the latter. At the same time, the Robinson I court cautioned
      the State to respect its own traditional districting principles and to remain
      cognizant of the reasonableness of its fears and efforts to avoid § 2 liability.
      Id. (quoting Vera, 517 U.S. at 978).
             Although District 6 was not present in any of the illustrative maps
      submitted to satisfy the first Gingles factor in Robinson I, the State has
      shown that as a remedial plan District 6 is reasonably compact when viewed
      through the lens of “traditional districting principles such as maintaining




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      communities of interest and traditional boundaries.” LULAC, 548 U.S. at 433
      (internal quotation marks omitted). 47 Recall that a “§ 2 district that is
      reasonably compact and regular, taking into account traditional districting
      principles such as maintaining communities of interest and traditional
      boundaries, may pass strict scrutiny without having to defeat rival compact
      districts designed by plaintiffs’ experts in endless beauty contests.” Vera,
      517 U.S. at 977.
             Make no mistake—the “special session [called by Governor Landry]
      was convened as a direct result of [] litigation, Robinson v. Landry.” JE36 at
      6. Certainly, some state legislators colloquially characterized the genesis of
      the special session by expressing that “we’ve been ordered by the court that
      we draw congressional district with two minority districts.” JE36 at 4 (Sen.
      Ed Price). But, while some state legislators conversationally expressed that
      “we are now in 2024 trying to resolve this matter at the direction of the
      court,” all legislators formally and collectively understood the redistricting
      process to have begun in the fall of 2021 “where [the Legislature] began
      [the] process going to every corner of this state on the roadshow, northeast,
      northwest, southeast, southwest, central Louisiana, all throughout this
      state.” JE36 at 4 (Sen. Royce Duplessis). Most of these senators—with the
      exception of two newly elected senators—were involved in the redistricting
      process when it began more than two years before the January 2024 special
      session, in the fall of 2021. Trial Tr. 545 (noting that except for only two
      newly-elected state senators to the 2024 Legislature, “the rest of the Senate
      serv[ed] for the full duration of the redistricting process following the 2020
      census”).




             47
                  See supra Part II.A-B.




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              As mentioned above, the testimony and evidence show that the
      legislators gave careful thought when identifying and assessing
      communities of interest; strategizing incumbency protection; calculating
      how often maps split parishes, census places (or municipalities), and
      landmarks, and measuring and comparing compactness scores. Although
      the impetus for the special session was litigation, the record confirms that
      the legislators considered traditional redistricting criteria in drawing and
      amending the maps. During the January 2024 special session, the legislators
      continuously cited “redistricting criteria, including those embodied in the
      Legislature’s Joint Rule 21” as foremost in their minds while promulgating,
      drafting, and voting on S.B. 8. 48 As discussed, the record illustrates that the
      legislators balanced all the relevant principles, including those described in
      Joint Rule 21, without letting any single factor dominate their redistricting
      process.
              To further imprint that the State had a strong basis in evidence for
      finding that the Gingles preconditions for § 2 liability were present, I
      examine the remainder of the Gingles factors. See Vera, 517 U.S. at 978.
      Louisiana electoral history provided evidence to support the remaining
      Gingles prerequisites. The second Gingles factor asks whether Black voters
      are “politically cohesive.” The court determines whether Black voters


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                 Moreover, Patricia Lowrey-Dufour, Senior Legislative Analyst to the House and
      Governmental Affairs Committee, presented an oral “101” orientation about the
      redistricting process. Specifically, she provided an overview of redistricting terms,
      concepts, and law, redistricting criteria, the 2020 census population and population
      trends, malapportionment statistics, and illustrative maps. Moreover, Ms. Lowrey-Dufour
      directed legislators to “a plethora of resources available on the redistricting website of
      the legislature.” In other words, the confection of these redistricting plans did not occur
      in a vacuum. S.B. 8 was adopted as part of a process that began with the decennial and in
      which legislators were immensely informed of their duties and responsibilities. JE28 at 3–
      11.




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      usually support the same candidate in elections irrespective of the
      contested district. The third Gingles factor requires an inquiry into whether
      White voters in Louisiana vote “sufficiently as a bloc to usually defeat [Black
      voters’] preferred candidate.” Again, the court makes this determination
      unrelatedly of the contested district. Relying on a record that established
      racially polarized voting patterns in the state of Louisiana, the State had a
      strong basis in evidence for finding that the second and third Gingles factors
      were present.
              Further, the Middle District of Louisiana court analyzed “the Senate
      Factors . . . and then turned to the proportionality issue.” Robinson I, 605 F.
      Supp. at 844. By evaluating the Senate Factors, 49 the Robinson I court
      determined that the plaintiffs had “established that they are substantially
      likely to prevail in showing that the totality of the circumstances weighs in
      their favor.” 605 F. Supp. at 844–51. Lastly, when evaluating the
      proportionality factor, the Middle District of Louisiana concluded that the
      “Black representation under the enacted plan is not proportional to the
      Black share of population in Louisiana . . . Although Black Louisianans make
      up 33.13% of the total population and 31.25% of the voting age population,
      they comprise a majority in only 17% of Louisiana’s congressional districts.”
      Id. at 851. Thus, each of the three Gingles prerequisites was sufficiently
      established.
              In sum, not only did the State have a strong basis in evidence for
      believing that it needed a majority-minority district in order to avoid liability
      under § 2 but—in drafting the remedial plan—it also ensured that its


              49
                The Senate Report of the Senate Judiciary Committee—which accompanied the
      1982 amendments to the VRA—specifies factors (“Senate Factors”) that are typically
      relevant to a § 2 claim and elaborate on the proof required to establish § 2 violations. See
      Gingles, 478 U.S. at 43–44.




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      proposed redistricting plan met the traditional redistricting criteria and was
      geographically compact so as to not offend the VRA. See Shaw II, 517 U.S.
      at 916–17 (rejecting the argument that “once a legislature has a strong basis
      in evidence for concluding that a § 2 violation exists in the State, it may draw
      a majority-minority district anywhere, even if the district is in no way
      coincident with the compact Gingles district”). Thus, District 6, as drawn, is
      “narrowly tailored.”
             Shaw II recognizes that: (1) the State may not draw a majority-
      minority district “anywhere [in the state] if there is a strong basis in
      evidence for concluding that a § 2 violation exists somewhere in the State
      and (2) “once a violation of the statute is shown[,] States retain broad
      discretion in drawing districts to comply with the mandate of § 2.” Shaw II,
      517 U.S. at 901, 917 n.9. Citing Shaw II, the Robinson I court made no
      determination that a district should be drawn just anywhere in the state.
      605 F. Supp. 3d at 857–58. Nor did the State seek to embark on such an
      endeavor. Rather, the Robinson I court afforded the State “a reasonable
      opportunity for the legislature to meet [applicable federal legal]
      requirements by adopting a substitute measure rather than for the federal
      court to devise and order into effect its own plan.” Wise v. Lipscomb, 437
      U.S. 535, 540 (1978) (citing Burns v. Richardson, 384 U.S. 73, 85 (1966)).
      Because the Supreme Court has emphasized “[t]ime and again” that
      “reapportionment is primarily the duty and responsibility of the State
      through its legislature or other body, rather than of a federal court,” this
      three-judge panel should not usurp the State’s efforts to narrowly tailor its
      reapportionment scheme. See Voinovich v. Quilter, 507 U.S. 146, 156
      (1993). Under the Burns rule, “a State’s freedom of choice to devise
      substitutes [or remedial plans] for an apportionment plan [that was] found
      unconstitutional . . . should not be restricted beyond the clear commands




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      of the Equal Protection Clause.” Lipscomb, 437 U.S. at 536–37; Burns, 384
      U.S. at 85.

             Far from a map “drawn anywhere” in the state simply because “there
      is a strong basis in evidence for concluding that a § 2 violation exists
      somewhere in the State,” District 6 reasonably remedies potential § 2
      violations because (1) the Black population was shown to be “geographically
      compact” to establish § 2 liability, Gingles, 478 U.S. at 50, and (2) District 6
      complies with “traditional districting principles such as compactness,
      contiguity, and respect for political subdivisions,” See Miller, 515 U.S. at 919.
      Shaw II, 517 U.S. at 900. For the foregoing reasons, I would hold that
      because S.B. 8 is narrowly tailored to further the State’s compelling
      interests in complying with § 2 of the VRA, it survives strict scrutiny and is
      therefore constitutional.
                                          IV. Conclusion
             The panel’s mandate in this case was clear: Plaintiffs needed to prove
      by a preponderance of the evidence that race predominated in the drawing
      of the district lines found in S.B. 8. The panel majority, relying on decades-
      old case law with antiquated observations, and by giving undue dispropor-
      tionate weight to the testimonies of Plaintiffs’ witnesses, concluded that
      Plaintiffs met their burden. Respectfully, my assessment of the evidence ad-
      duced at trial and my complete review of the entire record in this case con-
      vinces me that Plaintiffs failed to disentangle the State’s political defense
      from the consideration of race in the formulation of S.B. 8. Not only is the
      panel majority’s decision particularly jarring here, but it also creates an un-
      tenable dilemma for the State and eviscerates the semblance of its sover-
      eign prerogative to draw maps.
             The Louisiana Legislature conducted roadshows, held floor debates,
      had the author of the bill and numerous legislators explicitly state the



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      political impetus for their efforts, and drafted several maps and amend-
      ments before finally passing S.B. 8. If, after all of that, the majority still found
      that race predominated in drawing District 6, are we not essentially telling
      the State that it is incapable of doing the job it is tasked with under the
      United States and Louisiana constitutions? While the panel majority states
      that this court does not decide “whether it is feasible to create a second
      majority-Black district in Louisiana,” the context underlying this case in con-
      junction with its holding functionally answers that question. Majority Op.
      58. I worry that the panel majority’s decision fails to properly assess the
      history that led to S.B. 8 and, consequently, dooms us to repeat this cycle.
      For the foregoing reasons, I would determine that Plaintiffs have failed to
      meet their burden showing racial predominance in the drafting of S.B. 8.
      Alternatively, I would hold that S.B. 8 is constitutional because it is narrowly
      tailored to further the State’s compelling interests in complying with § 2 of
      the VRA.




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